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                                       EXHIBIT A
                                                            Exhibit A, Page 8
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           Case 2:17-cv-01848-PA-E
                            SUMC)NS    Document 1-1 Filed
                                                    PD    03/08/17 Page  2  of 87    Page     ID E1iJi5DI']
                                                                                                   #:9
                                                                           FOR COURT USE ONLY
                       (CITA CION JUDICIAL)               L            (SOLO PARA USO DE LA CORTE)

NOTICE TO DEFENDANT. UNITED TALENT AGENCY, LLC, a
(AVISO AL DEMANDADO): Eelaware Corporation;
FORD MOTOR COMPANY, a Delaware Corporation;
EWI WORLDWIDE, a business entity of unknown form;
CYNTHIA ARCARO ENTERPRISES CALIFORNIA, LLC, a                          CONFORMED COPY
                                                                          ORIGINAL FILEp
California Liability Company;                                         Superior Court of California
and DOES 1 through 100, inclusive, Defendants.                          Cofv of Los Anr,pp,


YOU ARE BEING SUED BY PLAINTIFF:            HENRY CHEN, an individual,                                                      NOV 232016
(LO ESTA DEMANDANDO EL DEMANDANTE): REBECCA FAULKNER,                                                       Sherri fl, Carter, woullve Vt!iQr/Crk
 an individual, and all others similarly situated Plaintiffs.
                                                                                                                       By: Judi 1ar, Deputy

 NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selThelp), your county law library, or the courthouse nearest you. If you cannot pay the filing tee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selmelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 jAVISO! Lo han dernandado. Si no responde dentro de 30 dIas, Ia corte puede decidir en su contra sin escuchar su versiOn. Lea Ia informaciOn a
 continuaciOn
  Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citaciOn y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia a! demandante. Una carta o una Ilamada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en Ia corte. Es posible que haya un forrnulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de Ia corte y rnás informaciOn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en Ia
 biblioteca de leyes de su condado o en Ia corte que le quede rnás cerca. Si no puede pagar Ia cuota de presentaciOn, pida al secretario de Ia corte
 que le dO un forrnulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplirniento y Ia corte le
 podrO quitar su sueldo, dinero y bienes sin rnás advertencia.
   Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede liamar a un serv'icio de
 remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 pro grama de seivicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con Ia corte 0 el
 colegio de abogados locales. A VISO: Por ley, Ia corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaciOn de $10,000 0 más de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de defch9 oj'il. jie c(fe
 pagar el gravamen de ía corte antes de que Ia corte pueda desechar el caso.
                                                                                                                              BC   b 4 .I 7         '
The name and address of the court is:                                                                   CASE NUMBER:
(El nombre y direcciOn de Ia corte es):                                                                 (Námem del Caso):

SUPERIOR COURT OF THE STATE OF CALIFORNIA
111 N. Hill St.
111 N. Hill St.
Los Angeles, CA 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, Ia direcciôn ye! nürnero de teléfono del abogado del demandante, a del demandante que no tiene abogado, es):
Leonard H. Sansanowicz, Esq(BN 255729)
Feldman Browne Olivares, APt
12400 Wilshire Blvd., Suite 1100                                    SHERRI .CATER
Los Angeles, CA 90025
DATE: November 23, 2016                                                      Clerk, by                                                          , Deputy
(Fecha)
                            NOV ,  ni
                                          L
                                             ' LUI
                                                                    (Secretario)                                                                  (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons, (POS-Olo)).
                                     NOTICE TO THE PERSON SERVED: You are served
 [SEAL]                             1.         as an individual defendant.
                                         L1i   as the person sued under the fIctiti us am_e of                        co            e


                                         i4 on behalf of (specify):                                                                              Qvi
                                         under:          CCP 416.10 (corporation)                                 CCP 416.60 (minor)
                                                         CCP 416.20 (defunct corporation)                  LICCP 416.70 (conservatee)
                                                         CCP 416.40 (association or partnership)           L1CCP 416.90 (authorized person)
                                                         other (specify):
                                               by personal delivery on (date):                                                                      Page 1 of 1
 Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure 412.20465
                                                                      SUMMONS
   Judicial Council of California                                                                     Sokis
                                                                                                                            Exhibit A, Page 9
                                 0                                  0
      Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 3 of 87 Page ID #:10
           Lee R. Feldman, Esq. (SBN 1420
        I lee@leefeldmanlaw.com
           Leorfard H. 1Sansanowicz, Esq. (SBN 255729)
        2  leonard@leefeldmanlaw.com
           FELDMAN BROWNE OLIVARES                        CONFORMED COpy
        3  A Professional Corporation,                      ORIGINAL FILED
                                                         Superior Court of California
           12400 Wilshire Blvd., Suite 1100                County of Los AnnJes
        4 Los Angeles, California 90014
           Telephone: (310) 207-8500                          NOV 23 2016
        5 Fax:          (310) 207-8515
                                                              Sherrj R. Carter,
                                                                                         CttEcer/Cgerk
        6 Attorneys for Plaintiffs, HENRY CHEN,                        By: JuthEx'"t've
                                                                                Lrra, Deputy
          REBECCA FAULKNER, and all others
        7 similarly situated

        8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
Cl)

                            COUNTY OF LOS ANGELES - CENTRAL CIVIL WEST
       10
            HENRY CHEN, an individual, REBECCA          CASE NO.
       11   FAULKNER, an individual, and all others
51          similarly situated                          CLASS ACTION
       12
                                                            PLAINTIFFS' COMPLAINT FOR
       13          Plaintiffs,                              DAMAGES AND RESTITUTION AND
                                                            FOR:
       14          all
                                                              FAILURE TO PAY WAGES FOR ALL
       15   UNITED TALENT AGENCY, LLC, a                      TIME WORKED AT MINIMUM
            Delaware Corporation; FORD MOTOR                  WAGE RATE, IN VIOLATION OF
       16   COMPANY, a Delaware Corporation; EWI              CALIFORNIA LABOR CODE
            WORLDWIDE, a business entity of                   SECTIONS 1194 AND 1197
       17   unknown form; CYNTHIA ARCARO
            ENTERPRISES CALIFORNIA, LLC, a                    FAILURE TO PAY OVERTIME
       18   California Limited Liability Company; and         WAGES FOR DAILY OVERTIME
            DOES 1 through 100, inclusive,                    AND ALL TIME WORKED, IN
       19                                                     VIOLATION OF CALIFORNIA
                   Defendants.                                LABOR CODE SECTIONS 510, 1194,
       20                                                     AND 1198
       21
                                                              FAILURE TO AUTHORIZE OR
       22                                                     PERMIT REST PERIODS OR PAY
                                                              REST PERIOD PREMIUM WAGES,
       23                                                     IN VIOLATION OF CALIFORNIA
                                                              LABOR CODE SECTION 226.7
       24
                                                              FAILURE TO PROVIDE TIMELY,
       25                                                     ACCURATE WAGE STATEMENTS,
                                                              IN VIOLATION OF CALIFORNIA
       26                                                     LABOR CODE SECTION 226

       27                                                     FAILURE TO TIMELY PAY ALL
                                                              EARNED WAGES DUE AT TIME OF
                                                              SEPARATION OF EMPLOYMENT, IN
                                                              VIOLATION OF CALIFORNIA
                                                        1
                                                        AND DEMAND FOR JURY TRIAL

                                                                               Exhibit A, Page 10
Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 4 of 87 Page ID #:11
                         C                                          C
                                                               LABOR CODE SECTIONS 201,202
  1
                                                           6. UNFAIR BUSiNESS PRACTICES, IN
  2                                                            VIOLATION OF BUSINESS AND
                                                               PROFESSIONS CODE SECTION
  3                                                            17200, etseq.

  4                                                        DEMAND FOR A JURY TRIAL

  5

  6          COME NOW plaintiffs HENRY CHEN and REBECCA FAULKNER (collectively,
  7 "Plaintiffs"), as individuals and representatives of those similarly situated, by and through their

  8 undersigned attorneys and for this complaint against defendants UNITED TALENT AGENCY, LLC,

  9 a Delaware Corporation ("UTA"); FORD MOTOR COMPANY, a Delaware Corporation

 10 ("FORD"); EWI WORLDWIDE, a business entity of unknown form ("EWI"); CYNTHIA ARCARO

 11 ENTERPRISES CALIFORNIA, LLC, a California Limited Liability Company ("ARCARO CA");

 12 and DOES 1 through 100, inclusive (collectively, "Defendants"), allege upon personal knowledge

 13 and belief as to their own acts, and upon information and belief (based upon the investigation of their

 14 counsel) as to all other matters, as to which allegations they believe substantial evidentiary support

 15 will exist after a reasonable opportunity for further investigation and discovery, as follows:

 16                                       I.     1N1ROIJUCTION

 17          This is a class action lawsuit seeking unpaid wages and interest thereon for failure to pay for
 18 all hours worked at least at minimum wage; failure to pay overtime premium wages for overtime

 19 hours worked; statutory penalties for failure to provide timely and accurate wage statements; waiting

 20 time penalties in the form of continuation wages for failure to timely pay employees all wages due

 21 upon separation of employment; liquidated damages for failure to pay minimum wage; unjust

 22 enrichment; injunctive relief and other equitable relief; reasonable attorney's fees pursuant to

 23 California Labor Code sections 226(h) and 1194; costs; and interest brought on behalf of Plaintiffs

 24 and others similarly situated.

 25                                        II.     THE PARTIES
 26          1.      Plaintiff Henry Chen ("Chen") is, and at all times herein mentioned was, an individual
 27 residing in Los Angeles County. Plaintiff was jointly employed as a product specialist by Defendants

 28 UTA, Ford, and EWI to showcase Ford vehicles at various automobile shows from September 2013


                                                                      FOR JURY TRIAL
                                                                             Exhibit A, Page 11
     Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 5 of 87 Page ID #:12
                              C)                                        C)
           through January 3, 2016, throughout California and other locations.

                   2.      Plaintiff Rebecca Faulkner ("Faulkner") is, and at all times herein mentioned was, an
       2
           individual residing in Massachusetts and New Hampshire. Plaintiff has been jointly employed as a

           product specialist by all Defendants to showcase Ford vehicles at various automobile shows since

           September 2008 throughout California and other locations.

       6           3.Plaintiffs are informed and believe and on that basis allege that Defendant UTA is,

           and at all times herein mentioned was, a Delaware corporation that jointly employed Plaintiffs and

       8 other non-exempt employees throughout the State of California and therefore its conduct forms a
           significant basis of the claims asserted in this matter.

      10          4.Plaintiffs are informed and believe and on that basis allege that Defendant FORD is,

           and at all times herein mentioned was, a Delaware corporation that jointly employed Plaintiffs and
me    12 other non-exempt employees throughout the State of California and therefore its conduct forms a

      13 significant basis of the claims asserted in this matter.

      14          5.Plaintiffs are informed and believe and on that basis allege that Defendant EWI is,

      15 and at all times herein mentioned was, a Delaware corporation that jointly employed Plaintiffs and

      16 other non-exempt employees throughout the State of California and therefore its conduct forms a

      17 significant basis of the claims asserted in this matter.
                  6.      Plaintiff Faulkner is informed and believes and on that basis alleges that Defendant
      18

      19 ARCARO CA is, and at all times herein mentioned was, a California limited liability company that
      20 jointly employs Plaintiff Faulkner and other non-exempt employees throughout the State of

      21 California and therefore its conduct forms a significant basis of the claims asserted in this matter.
                  7.      Plaintiffs are informed and believe and thereon allege that defendant Does 1 through
      22

      23 50 are corporations or are other business entities or organizations of a nature unknown to Plaintiffs.
                  8.      Plaintiffs are informed and believe and thereon allege that UTA is authorized to do
      24

      25 business within the State of California and is doing business in the State of California and/or that
      26 Defendants Does 51 through 60 are, and at all times relevant hereto were, individuals acting on

      27 behalf of UTA in the establishment of, or ratification, of, the aforementioned illegal wage and hour

      28 practices or policies. UTA operates in Los Angeles County and employed Plaintiff Chen and other

                                                             3
                                           FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                                                                  Exhibit A, Page 12
        Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 6 of 87 Page ID #:13
                                    C                                          C
                  putative class members in Los Angeles County and throughout California.
          1   '
          2                      Plaintiffs are informed and believe and thereon allege that FORD is authorized to do

                  business within the State of California and is doing business in the State of California and/or that
          3

          4 Defendants Does 61 through 70 are, and at all times relevant hereto were, individuals acting on

          5 behalf of FORD in the establishment of, or ratification, of, the aforementioned illegal wage and hour

          6 practices or policies. FORD operates in Los Angeles County and employed Plaintiff Chen and other
                  putative class members in Los Angeles County and throughout California.

                                 Plaintiffs are informed and believe and thereon allege that EWI is authorized to do

          9 business within the State of California and is doing business in the State of California and/or that

         10 Defendants Does 71 through 80 are, and at all times relevant hereto were, individuals acting on
c   0
         11 behalf of EWI in the establishment of, or ratification, of, the aforementioned illegal wage and hour
Zo
         12 practices or policies. EWI operates in Los Angeles County and employed Plaintiff Chen and other

         13 putative class members in Los Angeles County and throughout California.
z                                Plaintiffs are informed and believe and thereon allege that ARCARO CA is
         14

         15 authorized to do business within the State of California and is doing business in the State of

         16 California and/or that Defendants Does 81 through 90 are, and at all times relevant hereto were,

         17 individuals acting on behalf of ARCARO CA in the establishment of, or ratification, of, the

         18 aforementioned illegal wage and hour practices or policies. ARCARO CA operates in Los Angeles

        19' County and employed Plaintiff Faulkner and other putative class members throughout California.

        20                      Plaintiffs are informed and believe and thereon allege that Defendants Does 91

        21 through 100 are individuals unknown to Plaintiffs. Each of the individual defendants is sued

        22 individually and in his or her capacity as an agent, shareholder, owner, representative, manager,

        23 supervisor, independent contractor and/or employee of each Defendant and participated in the

        24 establishment of, or ratification, of, the aforementioned illegal wage and hour practices or policies.

        25                      Plaintiffs currently are unaware of the true names of Defendants Does 1 through 100.

        26 Plaintiffs sue said defendants by said fictitious names and will amend this complaint when the true

        27 names and capacities are ascertained or when such facts pertaining to liability are ascertained, or as

        28 permitted by law or by the Court. Plaintiffs are informed and believe that each of the fictitiously

                                                                  4
                                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                                                                        Exhibit A, Page 13
      Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 7 of 87 Page ID #:14
                               C)                                          C
            named defendants is in some manner responsible for the events and allegations set forth in this

        2 complaint.

                    14.     Plaintiffs are informed, believe, and thereon allege that at all relevant times, each

            defendant was an employer, was the principal, agent, partner, joint venturer, officer, director,

            controlling shareholder, subsidiary, affiliate, parent corporation, successor in interest and/or

        6 predecessor in interest of some or all of the other Defendants, and was engaged with some or all of
            the other defendants in ajoint enterprise for profit, and bore such other relationships to some or all of

        8 the other defendants so as to be liable for their conduct with respect to the matters alleged in this
Cn
            complaint. Plaintiffs further are informed and believe and thereon allege that each defendant acted

       10 pursuant to and within the scope of the relationships alleged above, and that at all relevant times,
            each Defendant knew or should have known about, authorized, ratified, adopted, approved,

       12 controlled, aided and abetted the conduct of all other defendants. As used in this complaint,

       13 "Defendant" means "Defendants and each of them," and refers to the Defendants named in the
ZL2

       14 particular cause of action in which the word appears and includes defendants UTA, FORD, EWI,
       15 ARCARO CA, and Does 1 through 100.

                    15.     At all times mentioned herein, each Defendant was the co-conspirator, agent, servant,
       16

       17 employee, andiorjoint venturer of each of the other defendants and was acting within the course and

       18 scope of said conspiracy, agency, employment, and/or joint venture and with the permission and

       19 consent of each of the other Defendants.
                    16.     Plaintiffs make the allegations in this complaint without any admission that, as to any
       20

       21 particular allegation, Plaintiffs bear the burden of pleading, proving, or persuading. Plaintiffs reserve

       22 all of their rights to plead in the alternative.

       23                                    III. JURISDICTION AND VENUE

                    17.    This Court has jurisdiction and venue is proper in this county for the following
       24
       25 reasons: Defendants operate throughout California; Defendants employed Plaintiff Chen in Los

       26 Angeles County; the principal violations of California law occuned in California; the conduct of

       27 Defendants forms a significant basis for Plaintiffs' and the Class Members' claims; and Plaintiffs

      28 and Class Members seek significant relief from Defendants.

                                                               5
                          -eoM-PfrAJN-T-FoRD.AMAGEsNp DEMAND FOR JURY TRIAL
                                                                                     Exhibit A, Page 14
     Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 8 of 87 Page ID #:15
                              C                                         C
        i                     IV. DESCRIPTION OF ILLEGAL PAY PRACTICES

                   18.     Pursuant to the applicable Industrial Welfare Commission Wage Order ("Wage
       2
            Order"), codified at California Code of Regulations title 8, section 11140, UTA, FORD, EWI,

            ARCARO CA, and business entities sued as DOES 1-50 were and are employers of Plaintiffs and

            others similarly situated within the meaning of the applicable Wage Order and applicable California

       6 Labor Code sections. Therefore, each of these Defendants is jointly and severally liable for the
            wrongs complained of herein in violation of the Wage Order and the California Labor Code.

                   19.     Plaintiffs worked as product specialists for Defendants, representing Ford Motor
       8
            Company at auto shows throughout California and other locations. The auto shows ranged in

      10 duration from a few days to a couple of weeks. Defendants UTA and ARCARO CA contracted with
00          FORD to provide product specialists at the auto shows. Defendants UTA and ARCARO CA are

      12 "temporary services employers" under the meaning of California Labor Code section 201.3.
      13           20.     Defendants, and each of them, jointly employed Plaintiffs and others similarly

      14 situated by controlling the wages, hours, and/or working conditions of the non-exempt employees

      15 who were product specialists at Ford auto shows. Defendants UTA and ARCARO CA controlled the

      16 wages and working conditions of non-exempt employees, Defendant FORD controlled non-exempt

      17 employees' working conditions, Defendant EWI provided supervisors who controlled non-exempt
      18 employees' working conditions, and Defendants UTA, ARCARO CA, and FORD evaluated each

      19 non-exempt employee's performance, considered non-exempt employees for rehire, and had the

      20 authority to discharge non-exempt employees at will.

                   21.    Failure to pay wages for all hours worked at California's minimum wage:
      21

      22 Defendants employ many of their employees, including Plaintiffs, as non-exempt employees. In

      23    California, an employer is required to pay hourly non-exempt employees for all "hours worked,"

      24 which includes all time that an employee is under control of the employer and all time the employee
      25 is suffered and permitted to work. This includes the time an employee spends, either directly or

      26 indirectly, performing services which inure to the benefit of the employer.
                   22.    Plaintiffs and similarly situated employees worked many hours for which Defendants
      27

      28 failed to compensate the employees at all. Specifically, Defendants had a policy and/or practice

                                                            6
                                                                                     TRIAL
                                                                                 Exhibit A, Page 15
     Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 9 of 87 Page ID #:16
                               C                                          C
           requiring their non-exempt employees to report to their exhibit booth workstations at least fifteen

       2 (15) minutes prior to the start of each workday, and at least thirty (30) minutes prior to the start of the
           workday on the first day of each auto show. Defendants failed to compensate Plaintiffs and similarly

           situtated employees for the pre-shift time during which they were subject to Defendants' control but

           were not paid.

                  23.       Defendants also had a policy and/or practice of requiring non-exempt employees to
       6
           complete training sessions online, which required hours of time. Defendants failed to compensate

       8 Plaintiffs and similarly situtated employees for any time they spent on online training sessions.
                  24.       The above issues were common to each non-exempt employee and predominated

      10 among all non-exempt employees.

00                25.       Failure to pay wages for all hours worked in excess of eight hours per day at the

      12 non-exempt employees' overtime rate of pay: As a result of Defendants' policy and/or practice

      13 requiring non-exempt employees to report to work either 15 or 30 minutes prior to their scheduled

      14 start time, Defendants' non-exempt employees routinely worked more than eight hours per workday.
                  26.       California Labor Code sections 510 and 1194 require an employer to compensate
      15

      16 employees a higher rate of pay for hours worked in excess of eight hours in a workday.
                  27.            California Labor Code section 1198 provides that the maximum hours set by the
      17

      18 Industrial Welfare Commission ("1WC" or "Commission") shall be the maximum hours of labor for

      19 employees. The Wage Order also provides for higher rates of pay for hours worked in excess of
      20 eight hours in a workday.

                  28.       Despite that California law requires employers to pay employees a higher rate of pay
      21

      22 for all hours worked in excess of eight hours in a workday, Defendants failed to pay their non-

      23 exempt employees overtime wages due to them for their daily overtime hours worked. Specifically,

      24 Defendants failed to account for pre-shift time that Plaintiffs and other non-exempt employees spent

      25 subject to their control and the overtime hours that forced the employees to work, and Defendants

     26 failed to pay those employees overtime premium wages of one and one-half times their the regular
     27 rate of pay for all time in excess of eight hours in a workday in which they were subject to

     28 Defendants' control.


                              COMPLAiNT-FOR-DAM-AGESANDJEMANJFoRJy TRIAL
                                                                                    Exhibit A, Page 16
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                                    0                                          0
                                Defendants also, as a matter of policy and/or procedure, failed to account for overtime
            1
                hours worked by non-exempt employees ona daily basis, instead calculating overtime hours after
            2
                employees had worked more than forty (40) hours in a workweek. By ignoring daily overtime hours,
            3
                Defendants failed compensate Plaintiffs and similarly situtated employees for all of their overtime
            4
                hours worked.
            5
                                The above issues were common to each non-exempt employee and predominated
            6
                among all non-exempt employees.
            7
                                Failure to pay non-exempt employees wages to compensate them for workdays
            8
I'D
                Defendants failed to authorize or permit periods: California law requires an employer to provide
            9
                an employee a rest period of ten (10) net minutes for every four hours worked, "which insofar as
           10
00              practicable shall be in the middle of each work period." Cal. Lab. Code §226.7; Wage Order §12.
           11
      0
                Thus, employees are entitled to 10 minutes rest for shifts from three and one-half to six hours in
           12
                length, 20 minutes for shifts between six and ten hours in length, and so on. Brinker Rest. Corp. v.
           13
                Super Ct.(Hohnbaum) (2012) 53 Cal.4th 1004, 1029.
           14
                                If an employer fails to authorize or permit a required rest period, the employer must
           15
                pay the employee one hour of pay at the employee's regular rate of compensation for each work day
           16
                the employer did not provide all legally required rest periods.
           17
                                Defendants, as a matter of policy and/or practice, failed to authorize or permit all
           18
                separately required ten-minute rest periods. Instead, Defendants aggregated meal and rest period time
           19
                into a single hour-long "break." Thus, if non-exempt employees worked seven or more hours,
           20
                Defendants did not, as a matter of policy and/or procedure, authorize or permit two separate rest
           21
                periods of at least ten minutes each. Defendants' policies and procedures ensured Defendants did not
           22
                authorize or permit non-exempt employees to take all legally required rest periods.
           23
                                Defendants adequately staffed the auto shows to allow each product specialist time to
           24
                take the required rest periods, and the nature of the work did not make it impracticable to authorize
           25
                and permit rest periods in the middle of each four-hour work period when non-exempt employees
           26
                worked seven hours or more.
           27
                                Defendants also failed to pay premium wages to Plaintiff and similarly situated
           28


                                                                      DEMAND FOR JURY TRIAL

                                                                                         Exhibit A, Page 17
     Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 11 of 87 Page ID #:18
                              0                                           0
           employees to compensate them for each workday Defendants failed to authorize or permit the

       2 employees all legally required rest periods. Defendants employed policies and procedures which
           ensured employees did not receive any premium wages to compensate them for the workdays in

           which Defendants failed to authorize or permit the employees all legally required rest periods.

                   36.    This practice resulted in Plaintiff and all other similarly situated employees not

       6 receiving premium wages to compensate them for workdays which Defendants did not authorize or
           permit them to take rest periods, in violation of California law.

                   37.    The above issues were common to each non-exempt employee and predominated
       8
           among all non-exempt employees.

                   38.    Failure to pay wages timely: California Labor Code section 204 provides that all
      10
           wages other than those mentioned in Section 201.3 are due and payable either weekly, biweekly, or
Zo
0<    12 twice per calendar month. California Labor Code section 201.3(b) provides, "if an employee of a
 0    13 temporary services employer is assigned to work for a client, that employee's wages are due and

           payable no less frequently than weekly, regardless of when the assignment ends, and wages for work
      14

      15 performed during any calendar week shall be due and payable not later than the regular payday of the
           following calendar week."
      16
                   39.    Defendants UTA and ARCARO CA employed a policy and procedure which ensured
      17
      18 that non-exempt employees would not get paid their earned wages for as few as thirty (30) and as

      19 many as ninety (90) days after the end of the auto show the employees worked.
                  40.     Thus, Defendants' pay practices violated California Labor Code sections 204 and
      20
      21 201.3.

                  41.     The above issues were common to each non-exempt employee and predominated
      22
      23 among all non-exempt employees.

                  42.     Failure to provide non-exempt employees timely and accurate wage statements:
      24
      25 California Labor Code section 226(a) provides that employers must provide itemized wage

           statements to their employees, including, inter alia, gross and net wages earned, total hours worked
      26
           by the employee, and all applicable hourly rates in effect during the pay period and the corresponding
      27
           number of hours worked at each hourly rate by the employee.
      28

                                                 9
      -                      COMPLAPLFORDAMAGES AND DEMAND FOR JURY TRIAL
                                                                                   Exhibit A, Page 18
    Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 12 of 87 Page ID #:19
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                  43.    Defendants UTA and ARCARO CA failed to provide accurate wage statements to

          Plaintiffs and similarly situated non-exempt employees who were subject to Defendants' control for
      2
          uncompensated time, including overtime hours, or the premium wages for missed rest periods and
      3
          overtime hours to which Plaintiffs and other similarly situated non-exempt employees were and are

          entitled.

                  44.    Defendants UTA and ARCARO        CA also failed to include the rate of pay and total
      6
          hours worked for each temporary assignment on the wage statements of Plaintiffs and other similarly

      8 situated non-exempt employees.

                  45.    In addition, Defendants UTA and ARCARO       CA failed to provide wage statements
      9
          either semimonthly or weekly (as required under Labor Code section 201.3), in violation of Labor
     10
C         Code section 226(a).
     11
                  46.    The above issues were common to each non-exempt employee and predominated
     12
          among all non-exempt employees.
     13
                  47.    Failure to pay non-exempt employees all wages due at time of separation of
     14
          employment: An employer is required to pay all unpaid wages timely after an employee's
     15

     16 employment ends. The wages are due immediately upon tenrnnation (Labor Code section 201) or
          within 72 hours of resignation (Labor Code section 202).
     17
                  48.    Because Defendants failed to pay Plaintiff Chen and other non-exempt employees
     18
          with all wages (including minimum wage, overtime wages, and unpaid rest period premium wages,
     19
     20 as discussed above) during their employment and never paid these amounts after separation of

     21 employment, Defendants failed to pay those employees timely after each employee's termination
          and/or resignation.
     22

     23           49.Further, Defendants had a policy and/or procedure of not paying any wages until 30 to

     24 90 days following the last show in which Plaintiffs and other non-exempt employees worked, in

          violation of California Labor Code sections 201, 201.3, 202, and 204.
     25
                  50.    The above issues were common to each non-exempt employee and predominated
     26
     27 among all non-exempt employees.

     28

                                                         10

                                                                                  Exhibit A, Page 19
     Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 13 of 87 Page ID #:20
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        i                               III. CLASS ACTION ALLEGATIONS

                    51.     Plaintiffs bring this action on behalf of themselves, on behalf of all others similarly
       2
             situated, and on behalf of the General Public, and as members of a Class defined as follows:

                            A.      Minimum Wage Class: All current and former hourly non-exempt employees
       4
             employed by Defendants in California at any time within the four years prior to the filing of the

       6 initial complaint in this action and through the date notice is mailed to a certified class who were not
       7 compensated at least at minimum wage for all hours worked.

                            B.      Overtime Class: All current and former hourly non-exempt employees
       8
             employed by Defendants in California at any time within the four years prior to the filing of the

      1: initial complaint in this action and through the date notice is mailed to a certified class who worked
             more than eight hours in a workday and/or 40 hours in a worl'eek to whom Defendants did not pay

      12 overtime wages.
0<
                            C.      Rest Period Class: All current and former hourly non-exempt employees
      13

      14 employed by Defendants in California at any time within the four years prior to the filing of the

      15 initial complaint in this action and through the date notice is mailed to a certified class who worked

      16 shifts of more than six hours yet Defendants did not authonze or permit all required rest penods of
      17 not less than ten minutes each.

                            D.      Wage Statement Class: All current and former hourly non-exempt employees
      18

      19 employed by Defendants in California at any time within one year prior to the filing of the initial
      20 complaint in this action and through the date notice is mailed to a certified class who received

            inaccurate or incomplete wage statements.
      21
                            E.      Waiting Time Class: All current and former hourly non-exempt employees
      22

      23 employed by Defendants in California at any time within the three years prior to the filing of the

      24 initial complaint in this action and through the date notice is mailed to a certified class who did not
      25 receive payment of all unpaid wages within the statutory time period upon separation of

      26 employment.

                            F.      California Class: All aforementioned classes are hereby collectively referred
      27
            to as the "California Class."
      28

            -------------                                    11
                                         -
                                 COMPLAJNi FORi1VrAGES-AD-DEMANDEORJ1IRy TRIAL
                                                                                    Exhibit A, Page 20
     Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 14 of 87 Page ID #:21

                   52.      There is a well defined community of interest in the litigation and the classes are
       1
           ascertainable:
       2
                                   Numerosity: While the exact number of class members in each class is
       3
           unknown to Plaintiff at this time, the Plaintiff classes are so numerous that the individual joinder of
       4
           all members is impractical under the circumstances of this case.
       5
                                   Common Questions Predominate: Common questions of law and fact exist
       6
           as to all members of the Plaintiff classes and predominates over any questions that affect only
       7
           individual members of each class. The common questions of law and fact include, but are not limited
       8
           to:
       9
                                          \\Tj- Defendants violated California Labor Code sections 1194 and
      10
           1197 by not paying employees' wages at least at a minimum wage rate for time that the California
      11
Zo
           Class were subject to Defendants' control but were not paid;
0<    12
-o                                        Whether Defendants violated California Labor Code sections 510 and
      13
z          1194 by not paying the California Class at the applicable overtime rates of pay for workdays worked
      14
           in excess of eight hours as a result of not paying the Class Members for all hours worked in a
      15
           workday;
      16
                                          Whether Defendants violated California Labor Code section 226.7, as
      17
           well as the applicable Wage Order, by employing California Class Members without authorizing or
      18
           permitting all their required rest periods or paying rest period premium wages;
      19

      20                                  Whether Defendants failed to provide the California Class Members

           with accurate itemized statements;
      21
                                   V.     Whether Defendants failed to provide California Class Members with
      22
           all unpaid wages within the statutory time period following separation of employment;
      23
                                          Whether Defendants committed unlawful business acts or practices
      24
           within the meaning of Business and Professions Code section 17200 et seq.;
      25

      26                                  Whether Class Members are entitled to unpaid wages, penalties,

           interest, fees and other relief in conjunction with their claims; and
      27

      28                                  Whether, as a consequence of Defendant's unlawful conduct, the Class

                                                            12
                                                                            FOR JURY TRIAL

                                                                                   Exhibit A, Page 21
Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 15 of 87 Page ID #:22
                          U                                           C
       Members are entitled to restitution, and/or equitable relief; and
  1
                              ix.     Whether Defendant's affirmative defenses, if any, raise any common
  2
       issues of law or fact as to Plaintiff, and the Class Members as a whole.
  3
                              Typicality: Plaintiffs' claims are typical of the claims of the Class Members
  4
       in each of the classes. Plaintiffs and the members of the Minimum Wage Class sustained damages
  5

  6 arising out of Defendants' failure to pay wages at least California's minimum wage for all time in

  7 which they Plaintiffs and other Class Members were subject to Defendants' control. Plaintiffs and

  8 the members of the Overtime Class sustained damages arising out of Defendants' failure to pay

  9 overtime premium wages for workdays in which Class Members were subject to Defendants' control

 10 but not paid for their time, resulting in workdays in which employees worked more than eight hours.

 11 Plaintiffs and the members of the Rest Period Class sustained damages arising out of Defendants'

 12 failure to authorize or permit Class Members all legally required rest periods and failure to pay rest

 13 period premium wages as compensation. Plaintiffs and the members of the Wage Statement Class

 14 sustained damages arising out of Defendants' failure to furnish Class Members with accurate

 15 itemized wage statements in compliance with California Labor Code section 226. Plaintiffs and the

 16 iiiembcrs of the Waiting Time Class sustained damages arising Qut of Defendants' failure to provide

 17 Class Members all unpaid yet earned wages due upon the end of their employment.
                              Adequacy of Representation: Plaintiffs will fairly and adequately protect the
 18

 19 interests of the members of each class. Plaintiffs have no interest that is adverse to the interests of the

 20 other class members. Plaintiffs' Counsel is qualified to conduct the litigation.
                              Superiority: A class action is superior to other available means for the fair
 21'

 22 and efficient adjudication of this controversy. Because individual joinder of all members of each

 23 class is impractical, class action treatment will permit a large number of similarly situated persons to

 24 prosecute their common claims in a single forum simultaneously, efficiently, and without the

 25 unnecessary duplication of effort and expense that numerous individual actions would engender. The

 26 expenses and burdens of individual litigation would make it difficult or impossible for individual

 27 members of each class to redress the wrongs done to them, while important public interests will be

 28 served by addressing the matter as a class action. The cost to and burden on the court system of

                                                        13
                                                                        FOR JURY TRIAL
                                                                                Exhibit A, Page 22
     Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 16 of 87 Page ID #:23
                                 0                                           0
            adjudication of individualized litigation would be substantial, and substantially more than the costs

       2 and burdens of a class action. Individua1zed litigation would also present the potential for

            inconsistent or contradictory judgmerits.

                            F.      Public Policy Consideration: Employers throughout the state violate wage
        4
            and hour laws. Current employees often are afraid to assert their rights out of fear of direct or indirect

            retaliation. Former employees are fearful of bringing actions because they perceive their former
       6
            employers can blacklist them in their future endeavors through negative references and by other

            means. Class actions provide the class members who are not named in the complaint with a type of
       8
            anonymity that allows for vindication of their rights.
       9
                                               FIRST CAUSE OF ACTION
       iv
0              FAILURE TO PAY AT LEAST THE LEGAL MINIMUM WAGE RATE FOR ALL

               TIME WORKED, IN VIOLATION OF LABOR CODE SECTIONS 1194 AND 1197

            (By the Minimum Wage Class against UTA, FORD, EWI, ARCARO CA, and DOES 1-50)
      13
Zi
                    53.     Plaintiffs hereby incorporate by reference paragraphs 1-52 above, as if fully set herein
      14
            by reference.                            .
      15
                    51.     At times relevant to this Cnmplaint, Plaintiffs and the members of the Minimum
      16
            Wage Class were non-exempt employees of UTA, FORD, EWI, Does 1-50, or any of them, covered
      17
      18 by California Labor Code sections 1194 and 1197. At times relevant to this Complaint, Plaintiff

            Faulkner and similarly situated members of the Minimum Wage Class were non-exempt employees
      19
            of ARCARO CA, covered by California Labor Code sections 1194 and 1197.
      20
                   55.      Pursuant to Labor Code sections 1194, 1197, and the Wage Order, Plaintiffs and
      21
            members of the Minimum Wage Class are entitled to receive wages for all hours worked and those
      22
            wages must be paid at least at the minimum wage rate in effect during the time the employees earned
      23
      24 the wages.

                    56.     UTA's payroll policies and procedures required employees of the California Class to
      25
            be engaged, suffered, or permitted to work without being paid wages for all of the time in which they
      26
            were subject to UTA's control, including but not limited to pre-shift reporting time.
      27
                   57.FORD's payroll policies and procedures required employees of the California Class to
      28

                                                      14
                                 COMPLAINIEOIUDAMAGESAND DEMAND FOR JURY TRIAL
                                                                                      Exhibit A, Page 23
       Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 17 of 87 Page ID #:24


              be engaged, suffered, or permitted to work without being paid wages for all of the time in which they

              were subject to FORD's control, including 1?ut not limited to pre-shift reporting time.
         2
                      58.       EWI's payroll polibies and procedures required employees of the California Class to
         3
              be engaged, suffered, or permitted to work without being paid wages for all of the time in which they
         4
              were subject to EWI's control, including but not limited to pre-shifi reporting time.
         5
                      59.       ARCARO CA's payroll policies and procedures required employees of the California
         6
         71 Class to be engaged, suffered, or permitted to work without being paid wages for all of the time in

              which they were subject to ARCARO CA's control, including but not limited to pre-shifi reporting
(ID
              time.
         9
                                As a result of Defendants' unlawful conduct, Plaintiffs and members of the Minimum
        10
              Wage Class have suffered damages in an amount subject to proof, to the extent that they were not
        11
Zo
 : -          paid wages at a minimum wage rate for all hours worked.
   u    12
0<
—o                              Pursuant to California Labor Code section 1194, Plaintiffs and members of the
        13
              Minimum Wage Class are entitled to recover unpaid minimum wage, interest thereon, and attorney's
        14
              fees and costs.
        15
                                Pursuant to California Labor Code section 1194.2(a), Plaintiffs and members of the
        16
              Minimum Wage Class are entitled to recover liquidated damages in the amount of their unpaid
        171
              minimum wage.
        18
                                                 SECOND CAUSE OF ACTION
        19
                              FAILURE TO PAY OVERTIME WAGES, IN VIOLATION OF
        20
                              CALIFORNIA LABOR CODE SECTIONS 510, 1194 AND 1198
        21
                  (By the Overtime Class Against UTA, FORD, EWI, ARCARO CA, and DOES 1-50)
        22
                                Plaintiffs hereby incorporate by reference paragraphs 1-62 above, as if fully set herein
        23
              by reference.
        24
                                At times relevant to this Complaint, Plaintiffs and the members of the Overtime Class
        25
              were non-exempt employees of UTA, FORD, EWJ, Does 1-50, or any of them, covered by California
        26
              Labor Code sections 510 and 1194 and the Wage Order. At times relevant to this Complaint,
        27
              Plaintiff Faulkner and similarly situated members of the Overtime Class were non-exempt employees
        28

                                                                  15

                                                                                         Exhibit A, Page 24
          Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 18 of 87 Page ID #:25
                                   C                                          C
                of ARCARO CA, covered by California Labor Code sections 510 and 1194 and the Wage Order.
            1
                       65.     Pursuant to California Labor Code sections 510 and 1194 and the Wage Order, non-
            2
                exempt employees are entitled to receive a higher rate of pay for all hours worked in excess of eight

                hours in a workday.

                       66.     California Labor Code section 510, subdivision (a), states in relevant part:

            6                  Eight hours of labor constitutes a day's work. Any work in excess of
                               eight hours in one workday and any work in excess of 40 hours in any
            7                  one workweek and the first eight hours worked on the seventh day of
                               work in any one workweek shall be compensated at the rate of no less
            8
                               than one and on-half times the regular rate of pay for an employee.
Cn
            9                  Any work in excess of 12 hours in one day shall be compensated at
     z                         the rate of no less than twice the regular rate of pay for an employee.
           10                  In addition, any work in excess of eight hours on any seventh day of a
04
C                              workweek shall be compensated at the rate of no less than twice the
     FD                        regular rate of pay of an employee. Nothing in this section requires an
           12                  employer to combine more than one rate of overtime compensation in
                               order to calculate the amount to be paid to an employee for any hour
           13                  of overtime work.
Z
           14          67.     Further, California Labor Code section 1198 provides:
           15
                       The maximum hours of work and the standard conditions of labor fixed by the
           16          commission shall be the maximum hours of work and the standard conditions of
                       labor for employees. The employment of any employee for longer hours than those
           17          fixed by the order or under conditions of labor prohibited by the order is unlawful.
           18
                Section 3(A)(1) of the Wage Order provides that eight hours of labor constitutes a day's work, and
           19
                that employees must be paid at the overtime rates specified in Labor Code section 510(a).
           20
                       68.     UTA's payroll policies and procedures required Plaintiffs and similarly situated non-
           21
                exempt employees of the Overtime Class to be subject to its control in excess of eight hours in a

           22 workday, yet UTA did not pay employees overtime wages for this time. FORD's payroll policies
           23
               and procedures required Plaintiffs and similarly situated non-exempt employees of the Overtime
           24
               Class to be subject to its control in excess of eight hours in a workday, yet FORD did not pay
           25                                                ,
               employees overtime wages for this time. EWI s payroll policies and procedures required Plaintiffs
           26
               and similarly situated non-exempt employees of the Overtime Class to be subject to its control in
           27
               excess of eight hours in a workday, yet EWI did not pay employees overtime wages for this time.
           28
               ARCARO CA's payroll policies and procedures required Plaintiff Faulkner and similarly situated
                                                                16
                                 CMflLAINT FORDAMAGES AND DEMAND FOR JURY TRIAL

                                                                                        Exhibit A, Page 25
     Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 19 of 87 Page ID #:26


             non-exempt employees of the Overtime Class to be subject to its control in excess of eight hours in a

        2 workday, yet ARCARO CA did not pay employees overtime wages for this time.

                     69.     As a result of Defendants' unlawful conduct, Plaintiffs and members of the Overtime

             Class have suffered damages in an amount subject to proof, to the extent that they were not paid

             wages at an overtime rate of pay for all hours worked which constitute overtime hours.

                     70.     Pursuant to California Labor Code section 1194, Plaintiffs and the Overtime Class
        6
             members are entitled to recover the full amount of their unpaid overtime wages, prejudgment

             interest, and attorney's fees and costs.
        8
                                                THIRD CAUSE OF ACTION

                  FAILURE TO AUTHORIZE OR PERMIT REST PERIODS, IN VIOLATION OF
       io
C                    CALIFORNIA LABOR CODE SECTION 226.7 AND THE WAGE ORDER
       11

       12       (By the Rest Period Class Against UTA, FORD, EWI, ARCARO CA, and DOES 1-50)

                     71.     Plaintiffs hereby incoorate by reference paragmphs 1-70 above, as if fully set herein
       13
             by reference.
       14
                     72.     At times relevant to this Complaint, Plaintiffs and the members of the Rest Period
       15
             Class were non-exempt employees of UTA, FORD, EWI, Does 1-50, or any of them, covered by
       16
       17 California Labor Code section 226.7 and the Wage Order. At times relevant to this Complaint,

       18 Plaintiff Faulkner and similarly situated members of the Rest Period Class were non-exempt

       19 employees of ARCARO CA, covered by California Labor Code section 226.7 and the Wage Order.
                     73.     California law requires an employer to authorize or permit an employee to take a rest
       20

       21 period often (10) net minutes for every four hours worked. Cal. Lab. Code §226.7; Wage Order

       22 § 12. Such rest periods must be in the middle of the four-hour period "insofar as practicable." Id. If

       23 the employer fails to provide any required rest period, the employer must pay the employee one hour

       24 of pay at the employee's regular rate of compensation for each work day the employer did not
             provide at least one legally required rest period. Id.
       25
                     74.     UTA, FORD, EWI, ARCARO CA, and Does 1-50 failed to authorize or pemit
       26
       27 Plaintiffs and other Class Members to take all required rest periods and failed to pay wages to

       28 Plaintiffs and similarly situated employees to compensate them for each workday they worked more

    ______                                                     17

                                                                                    Exhibit A, Page 26
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 20 of 87 Page ID #:27
                                   0                                            0
                than six hours yet UTA, FORD, EWI, ARCARO CA, and Does 1-50 did not authorize or permit all
            1
                rest periods to those employees. Rather, UTA, FORD, EWI, ARCARO CA, and Does 1-50
           2
                employed policies and procedures that ensured Plaintiffs and similarly situated employees would not
           3
                receive all legally required rest periods.
           4

           5                    UTA, FORD, EWI, ARCARO CA, and Does 1-50 also employed policies and

                procedures that ensured Plaintiffs and similarly situated employees did not receive any premium
           6

           7 wages to compensate them for workdays that they did not receive all legally required rest periods.

           S                    The above practices resulted in Plaintiff and all other similarly situated employees not
Cn
                receiving wages to compensate them for workdays in which UTA, FORD, EWI, ARCARO CA, and

          10 Does 1-50 did not provide them with rest periods in compliance with California law.
0                               Pursuant to California Labor Code section 226.7 and the Wage Order, Plaintiffs and
     9

          12 other Rest Priod Class Members seek and are entitled to one hour of pay for each workday that UTA,

          13 FORD, EWI, ARCARO CA, and Does 1-50 failed to provide all rest periods, plus pre-judgment
                interest.
          14

          15                                     FOURTH CAUSE OF ACTION

          16        FAILURE. TO PROVIDE TIMELY AND ACCURATE WAGE STATEMENTS, IN

          17                    VIOLATION OF CALIFORNIA LABOR CODE SECTION 226

          18    (By the Wage Statement Class Against UTA, FORD, EWI, ARCARO CA, and DOES 1-50)

          19                    Plaintiffs hereby incorporate by reference paragraphs 1-77 above, as if fully set herein

                by reference.
          20

          21                    At all relevant times, Plaintiffs and the other members of the Wage Statement Class

          22 were non-exempt employees of UTA, FORD, EWI, Does 1-50, or any of them, covered by California

          23 Labor Code section 226. At all relevant times, Plaintiff Faulkner and similarly situated members of

          24 the Wage Statement Class were non-exempt employees of ARCARO CA, covered by California
                Labor Code section 226.
          25

          26                    Pursuant to California Labor Code section 226, subdivision (a), Plaintiffs and the

          27 other members of the class were entitled to receive, semimonthly or at the time of each payment of
                wages, an itemized wage statement accurately stating the following:
          28

                                                                  EL
                                  COM1LAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                                                                         Exhibit A, Page 27
                                 o
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 21 of 87 Page ID #:28

                              (1) gross wages earned, (2) total hours worked by the employee,
           1                  except for any employee whose compensation is solely based on a
                              salary and who is exempt from payment of overtime under
           2                  subdivision (a) of Section 515 or any applicable order of the
           3                  Industrial Welfare Commission, (3) the number of piece-rate units
                              earned and any applicable piece rate if the employee is paid on a
           4                  piece-rate basis, (4) all deductions, provided that all deductions made
                              on written orders of the employee may be aggregated and shown as
           5                  one item, (5) net wages earned, (6) the inclusive dates of the period
                              for which the employee is paid, (7) the name of the employee and his
           6
                              or her social security number, except that by January 1, 2008, only the
           7                  last four digits of his or her social security number or an employee
                              identification number other than a social security number may be
           8                  shown on the itemized statement, (8) the name and address of the
Cn                            legal entity that is the employer, and (9) all applicable hourly rates in
           9
                              effect during the pay period and the corresponding number of hours
9 12      10                  worked at each hourly rate by the employee and, beginning July 1,
00                            2013, if the employer is a temporary services employer as defined in
          11                  Section 201.3, the rate of pay and the total hours worked for each
     S                        temporary services assignment.
          12
          13          81.     Defendants' illegal wage practices, including but not limited to Defendants' failure to

          14 pay at least minimum wage for all time worked, failure to pay overtime premium wages for all

          15 overtime hours worked, and failure to pay rest period premium wages, resulted in Defendants

          16 providing their non-exempt employees with inaccurate itemized wage statements in violation of

          17 California Labor Code section 226, including but not limited to the employees' gross and net pay and
          18 all applicable hourly rates and earnings at each rate, particularly for each temporary services

          19 assignment.

          20          82.    Further, pursuant to Labor Code section 201.3, subdivision (b), payment of wages was

          21 due no less frequently than weekly, yet Defendants failed to provide wage statements either weekly
          22 or even semimonthly.

          23          83.    Defendants' failure to provide Plaintiffs and members of the Wage Statement Class

          24 with accurate wage statements was knowing and intentional. Defendants had the ability to provide

          25 Plaintiffs and members of the Class with accurate wage statements but intentionally failed to do so.

          26 Defendants knowingly and intentionally put in place practices which deprived employees of wages

          27 and resulted in Defendants' knowing and intentional failure to provide accurate wage statements.
          28 These practices included Defendants' failure to provide Plaintiffs and other similarly situated

                                                                19

                                                                                        Exhibit A, Page 28
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                                    0                                           0
                 employees with wage statements of all the employees' applicable rates of pay and wages due.

                                 As a result of Defendants' unlawful conduct, Plaintiffs and members of the Wage
             2
                 Statement Class have suffereJ injury. The absence of accurate information in the form of wage
             3
                 statements has prevented earlier challenges to Defendants' unlawful pay practices, will require
             4
                 discovery and mathematical computations to determine the amount of wages owed, and will cause
             5
                 difficulty and expense in attempting to reconstruct time and pay records. Defendants' conduct led to
             6
                 the submission of inaccurate information about wages and amounts deducted from wages to state and
             7
                 federal government agencies. As a result, Plaintiffs and similarly situated employees are required to
             8
rJ)
                 participate in this lawsuit and create more difficulty and expense for Plaintiffs and similarly situated
             9
                 employees from having to reconstruct time and pay records than if Defendants had complied with
           10
      0          their legal obligations when required to do so.
           11
Zo
                                 Pursuant to California Labor Code section 226(e), Plaintiffs and members of the
           12
0<
      0          Wage Statement Class are entitled to recover fifty dollars per employee for the initial pay period in
           13
                 which a Section 226 violation occurred, and one hundred dollars per employee per violation for each
           14
                 subsequent pay period, not to exceed an aggregate penalty of four thousand dollars per employee.
            15
                                Pursuant to California Labor Code Section 226(h), Plaintiffs and members of the
           16
                 Wage Statement Class are entitled to bring an action for injunctive relief to ensure Defendants'
           17
                 compliance with California Labor Code section 226(a). Injunctive relief is warranted because
           18
                 Defendants continue to provide currently employed members of the Class with inaccurate wage
           19
                 statements, in violation of California Labor Code section 226(a), and currently employed members of
           20
                 the Class have no adequate legal remedy for the continuing injuries that will be suffered as a result of
           21
                 Defendants' ongoing unlawful conduct. Injunctive relief is the only remedy available for ensuring
           22
                 Defendants' compliance with California Labor Code section 226(a).
           23
                                Pursuant to California Labor Code sections 226(e) and 226(h), Plaintiffs and members
           24
                 of the Wage Statement Class are entitled to recover the full amount of penalties due under Section
           25
                 226(e), reasonable attorney's fees, and costs of suit.
           26
                 I/I
           27
                 III
           28

                                                                   20

                                                                                          Exhibit A, Page 29
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                                          FIFTH CAUSE OF ACTION

        FAILURE TO PAY ALL WAGES TIMELY UPON SEPARATION OF EMPLOYMENT,
   2
                       IN VIOLATION OF LABOR CODE SECTIONS 201 AND 202
   3
                 (By the Waiting Time Class Against UTA, FORD, EWI, and DOES 1-50)
   4
               88.     Plaintiffs hereby incorporate by reference paragraphs 1-87 above, as if fully set herein
   5
       by reference.
   6
               89.     At all relevant times, Plaintiffs and the other members of the Waiting Time Class
  7
       were non-exempt employees of UTA, FORD, EWI, and Does 1-50 covered by Labor Code sections
  8
       201 or 202.

               90.     Pursuant to Labor Code sections 201.3(b) and 201 or 202, Plaintiffs and members of
 101

 11 the Waiting Time Class were entitled upon separation of employment to timely payment of all wages

 12 earned and unpaid prior to such separation. Discharged employees were entitled to payment of all

 13 wages earned and unpaid prior to discharge immediately upon termination. Employees who resigned

 14 were entitled to payment of all wages earned and unpaid prior to resignation within 72 hours after

 15 giving notice of resignation or, if they gave 72 hours previous notice, they were entitled to payment

 16 of all wages earned and unpaid prior to resignation at the time of resignation.
               91.     The employment of Plaintiffs and other Class Members was separated at the end of
 17

 18 each season, yet Defendants failed to pay all wages due upon separation of employment, including
 19 unpaid minimum wage, overtime premium wages, and rest period premium wages.

               92.     Moreover, Defendants had a policy and/or practice of not paying Plaintiffs and other
 20

 21 similarly situated employees their paychecks until between thirty (30) and ninety (90) days following

 22 the completion of a show, in violation of California Labor Code sections 201, 201.3, 202, and 204.
 23 Thus, Defendants failed to timely pay Plaintiffs and other non-exempt employees their final

 24 paychecks immediately upon discharge each time the employees' employment ended.

              93.      Because of the above policies and/or practices, Defendants failed to timely pay
 25

 26 Plaintiffs and other members of the Waiting Time Class all wages earned prior to separation of
 271 employment in accordance with Labor Code sections 201 or 202. Plaintiffs are informed and believe

       and thereon allege that at all relevant times within the limitations period applicable to this cause of
 A1

                                                        21

                                                                                Exhibit A, Page 30
        Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 24 of 87 Page ID #:31
    •                            C)                                        C
              action, Defendants maintained a policy or practice of not timely paying non-exempt employees all

              earned wages upon separation of employment.
          2
                      94.    Defendants' failure to. timely pay Plaintiffs and other members of the Waiting Time

              Class all wages earned prior to separation of employment in accordance with Labor Code sections

              201 or 202 was willful. Defendants had the ability to pay all wages earned by non-exempt employees

              prior to separation of employment in accordance with Labor Code sections 201 or 202 but
          6
              intentionally adopted policies or practices incompatible with the requirements of Labor Code

              sections 201 or 202. Defendants' practices are described in further detail above. When Defendants
          8
              failed to pay non-exempt employees timely upon separation of employment all unpaid wages earned

              prior to such separation, Defendants knew what they were doing and intended to do what they did.
         10
-
                     95.     Pursuant to Labor Code sections 201 or 202, Plaintiffs and other members of the

VS       12
              Waiting Time Class are entitled to all wages earned prior to separation of employment that

         13 Defendants did not pay them.
                     96.     Pursuant to Labor Code section 203, Plaintiffs and other members of the Waiting
         14
              Time Class are entitled to continuation of their wages, from the day their earned and unpaid wages
         15
              were due upon separation of employment until paid, up to a maximum of 30 days.
         16
                     97.     As a result of Defendants' conduct, Plaintiffs and other members of the Waiting Time
         17
              Class have suffered damages in an amount, subject to proof, to the extent they were not paid for all
         18
              wages earned prior to the separation of their employment.
         19
                     98.     As a result of Defendants' conduct, Plaintiffs and other members of the Waiting Time
         20
              Class have suffered damages in an amount, subject to proof, to the extent they were not paid all
         21
              continuation wages owed under Labor Code Section 203.
         22
                     99.     Pursuant to Labor Code sections 201 and 202, Plaintiffs and other members of the
         23
              Waiting Time Class are entitled to recover the full amount of their unpaid wages, continuation wages
         24
              under Section 203, and interest thereon.
         25

         26

         27

         28

                                                              22

                                                                                    Exhibit A, Page 31
                          C)                                             C)
Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 25 of 87 Page ID #:32

                                          SIXTH CAUSE OF ACTION
   1
                UNFAIR BUSINESS PRACTICES, IN VIOLATION OF BUSINESS AND
   2
                               PROFESSIONS CODE SECTION 17200, et seq.
   3
                               (By the California Class Against All Defendants)
  4
                       Plaintiffs hereby incorporate by reference paragraphs 1-99 above, as if fully set herein

       by reference.
  6
                       The unlawful conduct of Defendants alleged herein constitutes unfair competition

       within the meaning of Business and Professions Code Section 17200. This unfair conduct includes
  8
       Defendants' use of policies and procedures which resulted in Defendants' failure to: pay employees

       at least minimum wage for all time worked; pay overtime wages for workdays in excess of eight
 10
       hours and/or workweeks in excess of 40 hours; authorize or permit all required rest periods or pay

       rest period premium wages; pay all earned wages within the statutory periods defined by California
 12
 13 Labor Code sections 201.3 and 204; provide timely and accurate wage and hour statements; and

       timely pay all wages due upon separation of employment and/or timely provide final paychecks.
 14
       Because of their unfair and unlawful business practices in violation of the Labor Code, Defendants
 15
       have gained a competitive advantage over other comparable companies doing busmess in the State of
 16
       California that comply with their obligations to do the following: pay minimum wage for all hours
 17
 18 worked; pay overtime premium wages for all hours worked; authorize or permit all required rest

       periods; provide timely and accurate wage statements; and timely pay all unpaid wages following
 19
       separation of employment.
 20
              102. As a result of Defendants' unfair competition as alleged herein, Plaintiffs and
 21
       members of the Minimum Wage Class, Overtime Class, Rest Period Class, Wage Statement Class,
 22
       and Waiting Time Class have suffered injury in fact and lost money or property, as described in more
 23
 24 detail above.

              103. Pursuant to Business and Professions Code Section 17203, Plaintiffs and members of
 25
       the Minimum Wage Class, Overtime Class, Rest Period Class, Wage Statement Class, and Waiting
 26
       Time Class are entitled to restitution of all wages and other monies rightfully belonging to them that
 27
 28 Defendants failed to pay them and wrongfully retained by means of their unlawful and unfair

                                                          23
                         ('(1,1DT ATTT 1'C11) fl A TUF A ('VC A im TW11 A iSJT t'D TT7 1V13T AT



                                                                                   Exhibit A, Page 32
Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 26 of 87 Page ID #:33
                          0                                           C
       business practices. Plaintiffs also seek an injunction against Defendants on behalf of the California
  1
       Class enjoining Defendants, and any and all.persons acting in concert with them, from engaging in
  2
       each of the unlawful practices, po1ices and patterns set forth herein.
  3

  4
                                              PRAYER FOR RELIEF
   5
       WHEREFORE, PLAINTIFFS, ON THEIR BEHALF AND ON BEHALF OF THOSE
  6
       SIMILARLY SITUATED, PRAY AS FOLLOWS:
  7

  8
           ON THE FIRST, SECOND, THIRD, FOURTH, FIFTH, AND SIXTH CAUSES OF
  9
                                                   ACTION:
 10
                      That the Court determine that this action maybe maintained as a class action (for the
 11
       California Class) pursuant to Code of Civil Procedure section 382 and any other applicable law;
 12
                      That the named Plaintiffs be designated as class representatives for the California
 13
       Class (and all sub-classes thereof);
 14
                      That counsel for Plaintiffs be designated as Class Counsel;
 15
                      A deci aratory judgment that the practices complained herein are unlawful; and,
 16
                      An injunction against Defendants enjoining them, and any and all persons acting in
 17
       concert with them, from engaging in each of the unlawful practices, policies and patterns set forth
 18
       herein.
 19
                                   ON THE FIRST CAUSE OF ACTION:
 20
                      That Defendants be found to have violated the minimum wage provisions of the
 21
       California Labor Code and the IWC Wage Order as to Plaintiffs and the Minimum Wage Class;
 22
                      For damages, according to proof, including but not necessarily limited to unpaid
 23
       wages;
 24
                      For any and all legally applicable penalties;
 25
                      For liquidated damages pursuant to California Labor Code section 1194.2;
 26
                      For pre-judgment interest, including but not limited to that recoverable under
 27
       California Labor Code section 1194, and post-judgment interest;
 28

                                                       24

                                                                                Exhibit A, Page 33
Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 27 of 87 Page ID #:34


                     For attorney's fees and costs of suit, including but not limited to that recoverable
  1
      under California Labor Code section 1194;
  2
                     For pre-judgment interest, including but not limited to that recoverable under
  3
      California Labor Code section 218.6, and post-judgment interest; and,
  4

  5                  For such and other further relief, in law and/or equity, as the Court deems just or

      appropriate.
  6
                                ON THE SECOND CAUSE OF ACTION:
  7
                     That Defendants be found to have violated the overtime provisions of the California
  8
      Labor Code and the Wage Order as to Plaintiffs and the Overtime Class;
  9
                     For damages, according to proof, including but not limited to unpaid wages;
 10
                     For any and all legally applicable penalties;
 11

 12                  For pre-judgment interest, including but not limited to that recoverable under

      California Labor Code section 1194, and post-judgment interest;
 13
                     For attorney's fees and costs of suit, including but not limited to that recoverable
 14
      under California Labor Code section 1194; and,
 15
                     For such and other further relief, in law and/or equity, as the Court deems just or
 16
      appropriate.
 17
                                 ON THE THIRD CAUSE OF ACTION:
 18
                     That Defendants be found to have violated the rest period provisions of the California
 19
      Labor Code and the IWC Wage Order as to Plaintiffs and the Rest Period Class;
 20
                     For damages, according to proof, including unpaid premium wages;
 21

 22                  For pre-judgment interest, including but not limited to that recoverable under

      California Labor Code section 218.6, and post-judgment interest; and
 23

 24                  For such and other further relief, in law and/or equity, as the Court deems just or

      appropriate.
 25
                                ON THE FOURTH CAUSE OF ACTION:
 26
             1.      That Defendants be found to have violated the provisions of the California Labor
 27

 28 Code regarding timely and accurate itemized paystubs as to Plaintiffs and the Wage Statement Class;

                                                      25
                       COMPLAINT FOR DAMAGES AND
                                                                             Exhibit A, Page 34
Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 28 of 87 Page ID #:35
                          C                                           C
                       For damages and/or penalties, according to proof, including damages and/or statutory
  1
       penalties under California Labor Code sectipn 226(e) and any other legally applicable damages or
  2
       penalties;
  3
                       For pre-judgment interest and post-judgment interest;
  4
                       For injunctive relief under California Labor Code section 226(h);
  5
                       For attorney's fees and costs of suit, including but not limited to that recoverable
  6
       under California Labor Code sections 226(e) and 226(h); and,
  7
                       For such and other further relief, in law and/or equity, as the Court deems just or
  8

  9   I appropriate.
                                    ON THE FIVFH CAUSE OF ACTION:
 10

 11                    That Defendants UTA, FORD, EWI, and Does 1 to 100, inclusive, be found to have

       violated the provisions of the Labor Code regarding payment of wages due upon separation of
 12
       employment as to Plaintiffs and the Waiting Time Class;
 13
                       For damages and/or penalties, according to proof, including damages and/or statutory
 14
       penalties under Labor Code section 203 and any other legally applicable damages or penalties;
 15
                       For pre-judgment interest, including under California Labor Code section 218.6, and
 16
       post-judgment interest; and,
 17
                       For such and other further relief, in law and/or equity, as the Court deems just or
 18
       appropriate.
 19

 20                                 ON THE SIXTH CAUSE OF ACTION:

 21                    That the Defendants be found to have violated Business and Professions Code section

       17200 for the conduct alleged herein as to all Classes;
 22
                       A declaratory judgment that the practices complained herein are unlawful;
 23
                       An injunction against Defendants enjoining them, and any and all persons acting in
 24
       concert with them, from engaging in each of the unlawful practices, policies and patterns set forth
 25
       herein;
 26
                       For restitution to the full extent permitted by law; and,
 27

 28

                                                         26
                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY

                                                                                   Exhibit A, Page 35
Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 29 of 87 Page ID #:36
                          0                                           0
              5.      For such and other further relief, in law and/or equity, as the Court deems just or
   1
       appropriate.
   2

   3
       Dated: November 23, 2016                                 FELDMAN BROWNE OLIVARES,
   4                                                            A Professional Corporation

   5

   6
                                                                LEE R. FELDMAN
   7                                                            LEONARD H. SANSANOWICZ
                                                                Attorneys for Plaintiffs, HENRY CHEN,
   8                                                            REBECCA FAULKNER, and all others
                                                                similarly situated
   9

 10
                                        DEMAND FOR JURY TRIAL
 11
              Plaintiffs Henry Chen and Rebecca Faulkner hereby demand a trial by jury for themselves
 12
          the California Class on all claims so triable.
  13

 14
       Dated:November 23, 2016                                  FELDMAN BROWNE OLIVARES,
 15                                                             A Professional Corporation

 16
                                                     By:
 17

 18                                                             LEONARD H. SANSANOWICZ
                                                                Attorneys for Plaintiffs, HENRY CHEN,
 19                                                             REBECCA FAULKNER, and all others
                                                                similarly situated
 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                           27
                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                                                              Exhibit A, Page 36
    A1TORNEY OR PARTY WITHOUT A1TORNEY (Name, Sfa            r, and                                                          FOR COURT USE ONLY
    LecardCase      2:17-cv-01848-PA-E
            H. Sansanowicz,    Esq.(SBIN Document
                                            729)     1-1 Filed 03/08/17 Page 30 of 87 Page ID #:37
   Jee. Feldman, Esq.(SBN 171628)
    Feldman Browne Olivares, APC.
    12400 Wilshire Blvd., Suite 1100                                        CONFORMED COpy
    Los Angeles, CA 90025                                                     ORIGINAL FILEQ
                                                                           Superior Court of California
        TELEPHONE NO.: (310)207-8500      FAXNO.: (310)2078515               County of Los Anueles

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LO JUN UtLh6
       STREET ADDRESS: 111 N. Hill St.
                                                                                                                         NOV 23 2016
                       111 N. Hill St.
         MAILING ADDRESS:
                                                                                                       s
      CIrYANDZIPCOOE:Los Angeles CA 90012                                                                          i. Cartei., XetUtIVe
                                                                                                                                        iticer/Cler
          BRANCH NAME: CENTKAL I3ISTRICT                                                                              BY: Judl Lara, Deputy
    CASE NAME:      Chen v. United Talent Agency
       CIVIL CASE COVER SHEET
          Unlimited               Limited
                                                    I         Complex Case Designation
                                                          Lii Counter ITI Joinder
                                                                                                             CASE NUMtS
                                                                                                                             b 1       4         93 0
          (Amount                 (Amount                 Filed with first appearance by defendant          JUDGE:
          demanded                demanded is       I         (Cal.   Rules  of Court,    rule 3.402)
          exceeds $25,000) $25,000 or less)I                                                                 DEPT:                                                          I
                                           items i-o oeiow must oe compietea see instructions on oaae ).
      Check one box below for the case type that best describes this case:
      Auto Tort                                           Contract                                     Provisionally Complex Civil Litigation
              Auto (22)                                   LIBreach of contract/warranty (06)           (Cal. Rules of Court, rules 3.400-3.403)
      11111 Uninsured motorist (46)                        liii Rule 3.740 collections (09)           LIII Antitrust/Trade regulation (03)
      Other PI/PDIWD (Personal Injury/Property
      Damage/Wrongful Death) Tort
                                                          LI    Other collections (09)                LI Construction defect (10)
                                                                Insurance coverage. (1 8)             LI Mass tort (40)
      [Ii] Asbestos (04)                                  [1111 Other  contract  (37)                 LI Securities litigation (28)
      [Ill] Product liability (24)                        Real Property                               [11111 Environmental/Toxic tort (30)
              Medical malpractice (45)                          Eminent domain/Inverse                       Insurance coverage claims arising from the
                                                                condemnation (14)
      1111111 Other PI/PDM/D (23)                                                                            above listed provisionally complex case
      Non-Pl/PDIWD (Other) Tort                           Liii Wrongful eviction (33)                        types (41)
              Business tort/unfair business practice (07)       Other  real property   (26)           Enforcement of Judgment
      [lii] Civil rights (08)                             Unlawful Detainer                           Lii Enforcement of judgment (20)
              Defamation (13)                             LI    Commercial    (31)                    Miscellaneous    Civil Complaint
      [ill]   Fraud (16)                                        Residential  (32)                            RICO (27)
      LIIntellectual property (19)                        LIDrugs (38)                                LI Other complaint (not specified above) (42)
              Professional negligence (25)                Judicial Review                             Miscellaneous Civil Petition
              Other non-Pl/PDI\ND tort (35)                     Asset forfeiture (05)                 LI Partnership and corporate governance (21)
      Employment                                                Petition re: arbitration award (11)          Other petition (not specified above) (43)
      ]i1Wrongful termination (36)                              Writ of mandate (02)
      Elil Other employment (15)                          LIOther judicial review (39)
     This case L.._J is        Lxi is not complex under rule 3.400 of the California Rules of Court. If the case is comnktx. mark th
     factors requiring exceptional judicial management:
        Lii Large number of separately represented parties d. LI Large number of witnesses
        LI Extensive motion practice raising difficult or novel e. Lii Coordination with related actions pending in one or more courts
               issues that will be time-consuming to resolve                  in other counties, states, or countries, or in a federal court
        Lii    Substantial amount    of documentary evidence      f.  Lillill Substantial postjudgment judicial supervision
     Remedies sought (check al/that apply): a. Lii monetary b.               nonmonetary; declaratory or injunctive relief c. FK7 punitive
     Number of causes of action (specify): Six (6)
     This case      is LI is not          a class action suit.
   If there are any known related cases, file and serve a notice of related case. (You may use for C!::;~~
Date: November23, 2016
Leonard H. Sansanowicz. Esg.(SBN 255729)                                                      0
                                   (TYPE OR PRINT NAME)                                                    E OF PARTY ON A1TORNE

                                                                        NOTICE
     Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
     File this cover sheet in addition to any cover sheet required by local court rule.
     If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
     Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                           Paaelof2
Form Adopted for Mandatory Use                                                                                Cal. Rules of court, rules 2.30, 3.220,3.400-3.403, 3.740;
  Judicial council of California                           CIVIL CASE COVER SHEET Sok
                                                                                                                     Cal. Standards of Judicial Adminislration. std. 3.10
   cM-olo(Rev.JuIyl,2007]                                                                             QflS
                                                                                                  '   Dh,c,


                                                                                                                         Exhibit A, Page 37
                           INSTRUC! NSDocument
                                       ON HOW TO                                                                                           CM-01O
             Case 2:17-cv-01848-PA-E           1-1COMPLETE    THE COVr3HEET
                                                    Filed 03/08/17 Page 31 of 87 Page ID #:38
  To Plaintiffs and Others Filing First Pas. If you are filing a first paper (for exampl-a complaint) in a civil case, you must
  c9znple.and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific ane. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its
 counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collettions case" under rule 3.740 is defined as an action for recovery of money owed
 in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
 property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of attachment.
 The identification of.a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
 requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
 to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a co unter-desig nation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                           CASE TYPES AND EXAMPLES
 Auto Tort                                       Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                        Breach of Rental/Lease                             Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                        Contract (not unlaWful detainer                Construction Defect (10)
           case involves an uninsured                           or wrongful   eviction)
                                                        Contract/Warranty Breach—Seller                    Claims Involving Mass Tort (40)
           motorist claim subject to                                                                       Securities   Litigation (28)
           arbitration, check this item                     Plaintiff (not fraud or negligence)
                                                        Negligent   Breach    of Contract/                 Environmental/Toxic Tort (30)
           instead of Auto)                                                                                Insurance Coverage Claims
                                                            Warranty
Other Pl/PDIWD (Personal Injury!                        Other Breach of Contract/Warranty                       (arising from provisionally complex
Property Damage/Wrongful Death)                      Collections (e.g., money owed, open                        case type listed above) (41)
Tort                                                    book accounts) (09)
     Asbestos (04)                                                                                  Enforcement of Judgment
                                                        Collection Case—Seller Plaintiff
           Asbestos Property Damage                     Other Promissory Note/Collections                  Enforcement of Judgment (20)
           Asbestos Personal Injury/                           Case                                             Abstract of Judgment (Out of
                Wrongful Death                      Insurance Coverage (not provisionally                           County)
     Product Liability (not asbestos or                 complex) (18)                                           Confession of Judgment (non-
          toxic/environmental) ( 24)                    Auto Subrogation                                            domestic relations)
     Medical Malpractice (45)                           Other Coverage                                         Sister State Judgment
          Medical Malpractice—                       Other Contract (37)                                       Administrative Agency Award
                Physicians & Surgeons                   Contractual Fraud                                           (not unpaid faxes)
          Other Professional Health Care                Other Contract Dispute                                 Petition/Certification of Entry of
                Malpractice                      Real Property                                                      Judgment on Unpaid Taxes
     Other Pl/PD/WD (23)                            Eminent Domain/Inverse                                     Other Enforcement of Judgment
          Premises Liability (e.g., slip                Condemnation (14)                                           Case
                and fall)                           Wrongful Eviction (33)                          Miscellaneous Civil Complaint
          Intentional Bodily Injury/PDIWD           Other Real Property (e.g., quiet title) (26)           RICO (27)
               (e.g., assault, vandalism)               Writ of Possession of Real Property                Other Complaint (not specified
                                                       Mortgage Foreclosure                                    above) (42)
         Intentional Infliction of
                                                       Quiet Title                                             Declaratory Relief Only
               Emotional Distress                      Other Real Property (not eminent
         Negligent Infliction of                                                                               Injunctive Relief Only (non-
                                                       domain, landlord/tenant, or
               Emotional Distress                                                                                  harassment)
                                                       foreclosure)
         Other Pl/PDIWD                          Unlawful Detainer                                             Mechanics Lien
Non-PI/PDIWD (Other) Tort                           Commercial (31)                                            Other Commercial Complaint
    Business Tort/Unfair Business                   Residential (32)                                               Case (non-tort/non-complex)
         Practice (07)                                                                                         Other Civil Complaint
                                                    Drugs (38) (if the case involves illegal
    Civil Rights (e.g., discrimination,                                                                            (non-tort/non-complex)
                                                       drugs, check this item; otherwise,
         false arrest) (not civil                                                                   Miscellaneous Civil Petition
                                                       report as Commercial or Residential)
         harassment) ( 08)                                                                                 Partnership and Corporate
                                                 Judicial Review
    Defamation (e.g., slander, libel)               Asset Forfeiture (05)                                     Governance (21)
         (13)                                                                                              Other Petition (not specified
                                                    Petition Re: Arbitration Award (11)
    Fraud (16)                                      Writ of Mandate (02)                                      above) (43)
    Intellectual Property (19)                         Writ—Administrative Mandamus                           Civil Harassment
                                                                                                              Workplace Violence
    Professional Negligence (25)                       Writ—Mandamus on Limited Court
                                                           Case Matter                                        Elder/Dependent Adult
         Legal Malpractice
                                                       Writ—Other Limited Court Case                               Abuse
         Other Professional Malpractice
                                                           Review                                             Election Contest
               (not medical or legal)
                                                    Other Judicial Review (39)                                Petition for Name Change
    Other Non-P I/PDIWD Tort (35)                                                                             Petition   for Relief from Late
Employment                                             Review of Health Officer Order
    Wrongful Termination (36)                          Notice of Appeal—Labor                                      Claim
    Other Employment (15)                                  Commissioner Appeals                               Other Civil Petition
             1.2007]
                                                        CIVIL CASE COVER SHEET                          -                                 Page2of2



                                                                                                               Exhibit A, Page 38
                 Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 32 of 87 Page ID #:39
    -     •             .              i111i

               Chen v. United Talent Agency
                                                                                                                         Be ru
SHORT TITLE:                                                                                     CASE NUMBER




                             CIVIL CASE COVER SHEET ADDENDUM AND
                                     STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
          This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.

 Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
   JURY TRIAL?LiIYES CLASS ACTION?                        YES LIMITED CASE? L1YES TIMEESTIMATEDFORTRIAL2O                             HoURS/r1 DAYS

 Item II. Indicate the correct district and courthouse location (4 steps - If you checked 'Limited Case", skip to Item III, Pg. 4):

        Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
        case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.

        Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

        Step 3: in Column C, circle the reason for the court location choice that applies to the type of action you have
        checked. For any exception to the court location, see Local Rule 2.3.

                               Applicable Reasons for Choosing Courthouse Location (see Column C below)

           Class actions must be filed in the Stanley Mosk Courthouse, central district.    6. Location of property or permanently garaged vehicle.
           May be filed in central (other county, or no bodily injury/property damage).     7. Location where petitioner resides.
           Location where cause of action arose.                                            8. Location wherein defendant/respondent functions wholly.
           Location where bodily injury, death or damage occurred.                          9. Location where one or more of theparties reside.
           Location where performance required or defendant resides.                       10. Location of Labor Commissioner Office
                                                                                           11. Mandatory Filing Location (Hub Case)

        Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.


                      Civil ease Cor.SJiet                                            Tyè fcTn                                       Reason- SeeStp.
                  -        Qategor,Np     -                     -                    (CIiecknone)                                         ibpve

     0
    I-                       Auto (22)            El A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death             1., 2., 4.
     0
                      Uninsured Motorist (46)     L1A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motoris          1., 2., 4.


                                                  El A6070 Asbestos Property Damage                                                   2.
                          Asbestos (04)
                                                  El A7221 Asbestos - Personal Injury/Wrongful Death                                  2.

                       Product Liability (24)     El A7260 Product Liability (not asbestos or toxic/environmental)                    1., 2., 3., 4., 8.


                   Medical Malpractice (45)
                                                  El A7210 Medical Malpractice - Physicians & Surgeons                                1., 4.

                                                  El A7240 Other Professional Health Care Malpractice                                 1., 4.


                         Other Personal
                                                  El A7250 Premises Liability (e.g., slip and fall)                                   i.

                         Injury Property          El A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                           assault, vandalism, etc.)
                                                                                                                                      1.,4.
                        Damage Wrongful
                           Death (23)             El A7270 Intentional Infliction of Emotional Distress
                                                                                                                                      1., 4.
                                                  El A7220 Other Personal Injury/Property Damage/Wrongful Death

 LACIV1O9 (Rev 3/15)                             CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC Approved 03-04                                AND STATEMENTOFLOCATFON                                                          Pi1f4

                                                                                                                      Exhibit A, Page 39
                                                                                                                                                           LA-cvl 09
               Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 33 of 87 Page ID #:40


SHORT TITLE:   Chen v. Urjited Talent Agency                                                      CASE NUMBER



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                  qivd Ca4çver Shet                                              Typ oj 4ctioji
                         gNqj                                                      cT

                     Business Tort (07)                A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1. 3.

                      Civil Rights (08)         L11 A6005 Civil Rights/Discrimination                                                   1., 2., 3.

                      Defamation (13)                  A6010 Defamation (slander/libel)                                                 1., 2., 3.

                        Fraud (16)                     A6013 Fraud (no contract)                                                        1., 2., 3.

                                                       A6017 Legal Malpractice                                                          1 2 3
                Professional Negligence (25)
                                                L111 A6050 Other Professional Malpractice (not medical or legal)                        1., 2., 3.


                         Other (35)                    A6025 Other Non-Personal Injury/Property Damage tort                             2.3.

                 Wrongful Termination (36)             A6037 Wrongful Termination                                                       1., 2., 3.

                                                       A6024 Other Employment Complaint Case                                            1., 2., 3.
                  Other Employment (15)
                                                       A6109 Labor CommissionerAppeals                                                  10,

                                                       A6004 Breach of Rental/Lease Contract (not unlawful detairier or wrongful        2
                                                             eviction)
                                                                                                                                        2., 5.
               Breach of Contract/ Warranty            A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                                                                                                                        1., 2., 5.
                                                       A601 9 Negligent Breach of Contract/Warranty (no fraud)
                      (not insurance)
                                                                                                                                        1., 2., 5.
                                                       A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                       A6002 Collections Case-Seller Plaintiff                                          2. 5. 6 11
                      CollectIons (09)
                                                       A6012 Other Promissory Note/Collections Case                                     2., 5, 11
                                                       A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                              Purchased on or after January 1,2014)

                  Insurance Coverage (18)              A6015 Insurance Coverage (not complex)                                           1., 2., 5., 8.

                                                       A6009 Contractual Fraud                                                          1., 2., 3., 5.

                     Other Contract (37)        Lull A6031 Tortious Interference                                                        1., 2., 3., 5.
                                                       A6027 Other Contract Dispute(riot breach/insurance/fraud/negligence)                   2., 3., 8.

                  EmnenctDomrn/lv4e)rse
                   Con      on                  LI A7300 Eminent Domain/Condemnation                Number of parcels                   2.

                   Wrongful Eviction (33)       LIII   A6023 Wrongful Eviction Case                                                           6.
      0.
                                                       A6018 Mortgage Foreclosure                                                       2., 6.
                  Other Real Property (26)             A6032 Quiet Title                                                                2., 6.
                                                       A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2., 6.

               Unlawful Detainer-Commercial            A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              2..6.

                Unlawful Detr-Residential              A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             2., 6.

                    Unlawful Detainer-                                                                                                  2., 6.
                                                       A6020F Unlawful Detainer-Post-Foreclosure
                   Post-Foreclosure (34)

                Unlawful Detainer-Drugs (38)           A6022 Unlawful Detainer-Drugs                                                    2., 6.



  LACIV 109 (Rev 3/15)                         CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.3
  LASC Approved 03-04                             ANDSTATEMENTOFtOCATtON                                                                Page 2 of 4

                                                                                                                      Exhibit A, Page 40
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SHORT TITLE:   Chen v. Untted Talent Agency                                                   CASE NUMBER




                     il           4t                                               J?Iñ                                                  -;.Sjep3j
                          Categy)Nô                                              heonte).

                    Asset Forfeiture (05)        El A6108 Asset Forfeiture Case                                          2., 6.


      C,
                 Petition re Arbitration (11)    El A61 15 Petition to Compel/ConfirmNacate Arbitration                  2. 5.
      >
      C,
                                                 El A6151 Writ - Administrative Mandamus                                 2..8.
                   Writ of Mandate (02)                A6152 Writ - Mandamus on Limited Court Case Matter                2.
      C.,

      -)
                                                 L1    A6153 Writ - Other Limited Court Case Review                      2.

                 Other Judicial Review (39)      El A6150 Other Writ/Judicial Review                                     2., 8.

               Antitrust/Trade Regulation (03)   El A6003 Antitrust/Trade Regulation                                     1., 2., 8.

                  Construction Defect (10)       El A6007 Construction Defect                                            1., 2., 3.

                Claims Involving Mass Tort
                           (40)                  El A6006 Claims Involving Mass Tort                                     1., 2., 8.


                  Securities Litigation (28)     El A6035 Securities Litigation Case                                      1. 2., 8.

                        Toxic Tort
                    Environmental (30)           El A6036 Toxic Tort/Environmental                                        1., 2., 3., 8.

                Insurance Coverage Claims
                  from Complex Case (41)         El A6014 Insurance Coverage/Subrogation (complex case only)                    2., 5., 8.


                                                 El A6141 Sister State Judgment                                                 9.
                                                       A6160 Abstract of Judgment                                          2., 6.

                       Enforcement               LIII A610/ Confession of Judgment (non-domestic relations)                2., 9.
                     of Judgment (20)
                                                 IIJ A6140 Administrative Agency Award (not unpaid taxes)                  2., 8.

                                                 E:II A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax       2., 8.

                                                 El A6112 Other Enforcement of Judgment Case                               2., 8., 9.

                          RICO (27)              LIII A6033 Racketeering (RICO) Case                                       1., 2., 8.


                                                 El A6030 Declaratory Relief Only                                          1., 2., 8.

                     Other Complaints            El A6040 Injunctive Relief Only (not domestic/harassment)                 2..8.
                 (Not Specified Above) (42)
                                                 El A601 1 Other Commercial Complaint Case (non-tort/non-complex)          1., 2., 8.
      0
                                                 El A6000 Other Civil Complaint (non-tort/non-complex)                          2., 8.

                  Partnership Corporation
                     Governance (21)             El A61 13 Partnership and Corporate Governance Case                             8.


                                                 El A6121 Civil Harassment                                                 2., 3., 9.

                                                 El A6123 Workplace Harassment                                             2., 3., 9.

                    Other Petitions (Not         El A6124 Elder/Dependent Adult Abuse Case                                 2., 3., 9.
                   Specified Above) (43)         El A6190 Election Contest                                                 2.

                                                 El A61 10 Petition for Change of Name                                     2., 7.

                                                 El A6170 Petition for Relief from Late Claim Law                          2., 3., 4., 8.

                                                 El A6100 Other Civil Petition                                             2., 9.




  LACIV 109 (Rev 3/15)                          CIVIL CASE COVER SHEET ADDENDUM                                        Local Rule 2.3
  bSe-Approved0304                                 ANO-SiATEMENTOFtOCATION                                               Page 3 of 4
                                                                                                                  Exhibit A, Page 41
                Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 35 of 87 Page ID #:42
                                             0
SNORT TITLE:   Chen v. United Talent Agency                                              CASE NUMBER




 Item III. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
 circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                     ADDRESS:                                                             t.
  REASON: Check the appropriate boxes for the numbers shown
  under Column C for the type of action that you have selected for
  this case.

 EiI11 .1Il2.lIII3.LIIJ4.LI1 5.E116.L117. = 8.L1119.LIII10.E11 1.

  CITY:                                     STATE:    I ZIP CODE:


  Los Angeles                             I CA        190071

 Item IV. Declaration of Assignment: I declare under penalty of perjury under the laws of the State of California that the foregoing is true
 and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk                   courthouse in the
 Central                  District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local
 Rule 2.3, subd. (a).



 Dated:November 23.        2016
                                                                                     (SIGNATURE OF ATTORNEY/FILING PARTY)

                                                                                     Leonard H. Sansanowicz, Esq.


 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:

           Original Complaint or Petition.

           If filing a Complaint, a completed Summons form for issuance by the Clerk.
           Civil Case Cover Sheet, Judicial Council form CM-01 0.

           Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
           03/15).

           Payment in full of the filing fee, unless fees have been waived.
           A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
           minor under 18 years of age will be required by Court in order to issue a summons.
           Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
           must be served along with the summons and complaint, or other initiating pleading in the case.




 LAdy 109 (Rev 3/15)                    CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
 LASC Approved 03-04                       ANDSItAIEM.ENJ_OLLOCAIION                                                    Page*of4

                                                                                                            Exhibit A, Page 42
             Case 2:17-cv-01848-PA-E
                       SUPERIOR (JRTDocument 1-1 FiledCOUNTY
                                     OF CALIFORNIA,    03/08/17 OJ?OS
                                                                 Page ANGELES
                                                                      36 of 87 Page ID #:43
         -             I   NOTICEU CASE ASSIGNMENT - CLASS ACUN CASES
                                       Case Number
                                                                                                                           BC641 9 ro
                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
                         Your case is assigned for all purposes to the judicial officer'indicated below (Local Rule 3.3    (c)).

                                p            ASSIGNED JUDGE                                    DEPT.       ROOM
                                  - Judge Elihu M. Berle                                         323        1707

                                  - Judge William F. Highberger                                  322        1702

                                     Judge John Shepard Wiley, Jr.                               311        1408

                                  - Judge Kenneth Freeman                                        310        1412

                                    ){idge Ann Jones                                             3 ,        1415

                                  / Judge Amy D. Hogue                                           307        1402
                                         OTHER

                                          Instructions for handling Class Action Civil Cases
The following critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION
The Chapter Three Rules were effective January 1, 1994. •They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Chapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to
a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:

COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their
answer is filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the
filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all
motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and
special jury instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days
before this conference, counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief
statement of the case to be read to the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

 SANCTIONS
 The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,
 and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if
 appropriate on counsel for the party.

 This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore not a guarantee against the
 imposition of sanctions under Trial Court Delay Reduction. Careful reading and compliance with the actual Chapter Rules is absolutely imperative.

 Given to the Plaintiff/Cross Complainant/Attorney of Record on                           SHERRI R. CARTER, Executive Officer/Clerk
                                                                  NOV 2 3 7'1
                                                                                    Ii]                                            Deputy Clerk

      LASC Approved 05-06
                                                                                                                Exhibit A, Page 43
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                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California   voluntary stipulations entered into by the parties. The parties
County of Los Angeles

                               may enter into one, two, or all three of the stipulations;

       A
                   •           however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.
           S   f   II 0

                                  The    following   organizations    endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                                *Los Angeles County Bar Association Litigation Section•
Southern California
Defense Counsel

                                              Los Angeles County Bar Association
                                             Labor and Employment Law Section•

Association of
Business Trial Lawyers                Consumer Attorneys Association of Los AngeIes


                                             Southern California Defense Counsel•


                                        *Association of Business Trial Lawyers*

California Employment
Lawyers Association
                                     *California Employment Lawyers Association



    LASC Approved 4-11

                                                                                Exhibit A, Page 44
    For Optional Use
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 38 of 87 Page ID #:45
                                                  C)                                          C

NASIE AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR ItUMBFJJ                Red lo, Cerk   Sta,np




          TELEPHONE NO.:                                   FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                                  CASE NUMBER:
             STIPULATION               - EARLY ORGANIZATIONAL MEETING
       This stipulation is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties in efficient case resolution.

       The parties agree that:

        1. The parties commit to conduct an initial conference (in-person or via teleconference or via
            videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
           whether there can be agreement on the following:

                   Are motions to challenge the pleadings necessary? If the issue can be resolved by
                   amendment as of right, or if the Court would allow leave to amend, could an amended
                   rnmplaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                   agree to work through pleading issues so that a demurrer need only raise issues they cannot
                   resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                   would some other type of motion be preferable? Could a voluntary targeted exchange of
                   documents or information by any party cure an uncertainty in the pleadings?

                    Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                    employment case, the employment records, personnel file and documents relating to the
                    conduct in question could be considered "core." In a personal injury case, an incident or
                    police report, medical records, and repair or maintenance records could be considered
                    "core.");

                    Exchange of names and contact information of witnesses;

                    Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                    indemnify or reimburse for payments made to satisfy a judgment;

                    Exchange of any other information that might be helpful to facilitate understanding, handling,
                    or resolution of the case in a manner that preserves objections or privileges by agreement;

                    Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                    phases of the case. Also, when and how such issues can be presented to the Court;

                    Whether or when the case should be scheduled with a settlement officer, what discovery or
                    court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                    and whether the parties wish to use a sitting judge or a private mediator or other options as
        LACIV 229 (Rev 02/15)
        LASC Approved 04/11               STIPULATION - EARLY ORGANIZATIONAL MEETING
        For Ootional Use                                                                                                   Page 1 of 2


                                                                                                      Exhibit A, Page 45
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                                        C                                      C)
SHORT T1TIE:                                                                      CASE NUMOER:




               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

               Computation of damages, including documents, not privileged or protected from disclosure, on
               which such computation is based;

               Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.org under "Civil' and then under "General Information").

               The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                          __ for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.org under "Civil',
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

               The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

               References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

 The following parties stipulate:

 Date:

                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
 Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:
                                                                 >
                   (TYPE OR PRINT NAME)                                (ATTORNEY FOR
  Date:

                   (TYPE OR PRINT NAME)                                (ATTORNEY FOR
  Date:

                   (TYPE OR PRINT NAME)                                (ATTORNEY FOR


  LAdy 229 (Rev 02/15)
  LASCApproMe&04/ii            STIPULATION -EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2

                                                                                            Exhibit A, Page 46
          Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 40 of 87 Page ID #:47
                                                                                         01
NAME AND ADDRESS OF ATr0RNEyeR PMTY WPTHOUT ATIORNEY:                 STATE DAN NUMBER                 Reoe,ved for Clorko Rio Stamp




          TELEPHONE NO.:                                FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    AflORNEV FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                              CASE NUMBER:

                     STIPULATION              - DISCOVERY RESOLUTION
       This stipulation is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.

       The parties agree that:

             Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
             the moving party first makes a written request for an Informal Discovery Conference pursuant
             to the terms of this stipulation.

             At the Informal Discovery Conference the Court will consider the dispute presented by parties
             and determine whether it can be resolved informally. Nothing set forth herein will preclude a
             party from making a record at the conclusion of an Informal Discovery Conference, either
             orally or in writing.

             Following a reasonable and good faith attempt at an informal resolution of each issue to be
             presented, a party may request an Informal Discovery Conference pursuant to the following
             procedures:

                         The party requesting the Informal Discovery Conference will:

                                File a Request for Informal Discovery Conference with the clerk's office on the
                                approved form (copy attached) and deliver a courtesy, conformed copy to the
                                assigned department;

                                Include a brief summary of the dispute and specify the relief requested; and

                      iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                                that ensures that the opposing party receives the Request for Informal Discovery
                                Conference no later than the next court day following the filing.

                             Any Answer to a Request for Informal Discovery Conference must:

                                Also be filed on the approved form (copy attached);

                                Include a brief summary of why the requested relief should be denied;
         LACIV 036 (new)
         LASC Approved 04/11                    STIPULATION - DISCOVERY RESOLUTION
         For Optional Use

                                                                                                   Exhibit A, Page 47
   Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 41 of 87 Page ID #:48
                                  0                                        0
SHORT TITLE:                                                                   CASE NUMBER:




                      Be filed within two (2) court days of receipt of the Request; and

                      Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

               No other pleadings, including but not limited to exhibits, declarations, or attachments, will
               be accepted.

               If the Court has not granted or denied the Request for Informal Discovery Conference
               within ten (10) days following the filing of the Request, then it shall be deemed to have
               been denied. If the Court acts on the Request, the parties will be notified whether the
               Request for Informal Discovery Conference has been granted or denied and, if granted,
               the date and time of the Informal Discovery Conference, which must be within twenty (20)
               days of the filing of the Request for Informal Discovery Conference.

               If the conference is not held within twenty (20) days of the filing of the Request for
               Informal Discovery Conference, unless extended by agreement of the parties and the
               Court, then the Request for the Informal Discovery Conference shall be deemed to have
               been denied at that time.

       If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
       without the Court having acted or (C) the Informal Discovery Conference is concluded without
       resolving the dispute, then a party may file a discovery motion to address unresolved issues.

       The parties hereby further agree that the time for making a motion to compel or other
       discovery motion is tolled from the date of filing of the Request for Informal Discovery
       Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
       filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
       by Order of the Court.

        It is the understanding and intent of the parties that this stipulation shall, for each discovery
        dispute to which it applies, constitute a writing memorializing a "specific later date to which
        the propounding [or demanding or requesting] party and the responding party have agreed in
        writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
        2033.290(c).

        Nothing herein will preclude any party from applying ex parte for appropriate relief, including
        an order shortening time for a motion to be heard concerning discovery.

        Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

        References to "days" mean calendar days, unless otherwise noted. If the date for performing
        any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
        for performing that act shall be extended to the next Court day.



  LAdy 036 (new)
  LASC Approved 04/11             STIPULATION - DISCOVERY RESOLUTION
  For Optional Use                                                                                 Page 2o13


                                                                                        Exhibit A, Page 48
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SHORT TITLE:                                                      CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                    (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                    (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR




LAdy 036 (new)
LASC Approved 04/11           STIPULATION - DISCOVERY RESOLUTION
For Optional Use


                                                                         Exhibit A, Page 49
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 43 of 87 Page ID #:50
                                                 U                                             U
NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                  STATE BAR NUMBER                         Ree,ved to, Clorko File Slonrp




          TELEPHONE NO.:                                   FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                                        CASE NUMBER:
                         INFORMAL DISCOVERY CONFERENCE
                (pursuant to the Discovery Resolution Stipulation of the parties)
             This document relates to:
                   LII        Request for Informal Discovery Conference
                   LI         Answer to Request for Informal Discovery Conference
             Deadline for Court to decide on Request:                                        (insert date 10 calendar days following filing of
             the Request).
             Deadline for Court to hold Informal Discovery Conference:                                                (insert date 20 calendar
             days following filing of the Request).
             For a Request for Informal Discovery Conference, briefly describe the nature of the
             discovery dispute, including the facts and legal arguments at issue. For an Answer to
             Request for Informal Discovery Conference, briefly describe why the Court should deny




         LAdy 094 (new)                             INFORMAL DISCOVERY CONFERENCE
         LASC Approved 04/11
         For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)

                                                                                                             Exhibit A, Page 50
          Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 44 of 87 Page ID #:51
                                                 Wr

NN4E AND ADDRESS OF ATTORNEY OR PARTY WiTHOUT ATTORNEY:                 STATE BAR NUMBR            Rs,ved for Clorko Rio Stonp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTI FF:


DEFENDANT:

                                                                                          CASE NUMBER:

               STIPULATION AND ORDER - MOTIONS IN LIMINE


       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


        The parties agree that:

        1. At least ____ days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion in
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion in limine and the grounds for the proposed motion.

        2. The parties thereafter will meet and confer, either in person or via teleconference or
           videoconference, concerning all proposed motions in limine. In that meet and confer, the
            parties will determine:

                    Whether the parties can stipulate to any of the proposed motions. If the parties so
                    stipulate, they may file a stipulation and proposed order with the Court.

                    Whether any of the proposed motions can be briefed and submitted by means of a
                    short joint statement of issues. For each motion which can be addressed by a short
                    joint statement of issues, a short joint statement of issues must be filed with the Court
                    10 days prior to the final status conference. Each side's portion of the short joint
                    statement of issues may not exceed three pages. The parties will meet and confer to
                    agree on a date and manner for exchanging the parties' respective portions of the
                    short joint statement of issues and the process for filing the short joint statement of
                    issues.

         3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
             a short joint statement of issues will be briefed and filed in accordance with the California
             Rules of Court and the Los Angeles Superior Court Rules.



         LACIV 075 (new)
         LASCApprovedO4/11                STIPULATION AND ORDER— MOTIONS IN LIMINE
         For Optional Use                                                                                                        jof 2


                                                                                              Exhibit A, Page 51
   Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 45 of 87 Page ID #:52

SHORT TITLE:                                                  CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)

Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR
 Date:

               (TYPE OR PRINT NAME)                    TTORNEY FOR



 THE COURT SO ORDERS.

   Date:
                                                               JUDICIAL OFFICER




 LAdy 075 (new)
 LASC Approved 04/11      STIPULATION AND ORDER - MOTIONS IN LIMINE

                                                                       Exhibit A, Page 52
           Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 46 of 87 Page
                                                                  CiOMED     COPY ID #:53
                                                                                  ORIGINAL FILED
                                                                                        urI ol California
NOTICE SENT TO:                                                                 Sp      Los Angeles

Feldman, Lee R, Esq.                                                                   JAN 052011
Feldman Browne Olivares, APC
12400 Wilshire Blvd.,Suite 1100
Los Angeles,          CA 90025                                               nerri F. Carter, Executive Officer/Clerk
                                                                               By: Jan Josef Manrique, Deputy

                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                CASE NUMBER
HENRY CHEN ET AL
                                            Plaintiff(s),                       BC641930
                          vs.
UNITED TALENT AGENCY LLC ET AL                                        Notice of Case Reassignment and of
                             Defendant(s).                            Order for Plaintiff to Give Notice



TO THE PLAINTIFF(S) AND PLAINTIFF'S ATTORNEY OF RECORD or PLAINTIFF(S) IN
PROPRIA PERSONA:
YOU ARE HEREBY NOTIFIED that effective November 28. 2016, an order was made that the above-
entitled action, previously assigned to Maren E. Nelson, is now and shall be assigned to
 Maren E. Nelson as an Individual Caliiidar (IC), direct calendaring judge for all purposes,
including trial, in Department 307 . (See Chapter 3, Los Angeles Court Rules.) All matters on
calendar in this case will remain set on the dates previously noticed, in the Department indicated above
unless otherwise ordered by the court.
NOTICE IS FURTHER GIVEN that the order directs that plaintiff and counsel for the plaintiff shall
give notice of this all purpose case assignment by serving a copy of this Notice on all parties to this
action within 10 days of service of this Notice by the court, arid file proof of service thereof within
12 days of this Notice. Failure to timely give notice and file proof of service may lead to imposition
of sanctions pursuant to Code of Civil Procedure Section 177.5 or otherwise.

                                         CERTIFICATE OF MAILING
I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am
not a party to the cause herein, and that on this date I served the Notice of Case Reassignment and Order
upon eachparty or counsel named above by depositing in the United States mail at the courthouse in Los
Angeles, California, one copy of the original filed/entered herein in a separate sealed envelope to each
address as shown above with the postage thereon fully prepaid.
Date: January 5, 2017                                       Sherri R. Carter, EXECUTIVE OFFICER/CLERK
                                                     /.s/ JAN JOSEF MANRIQu.

                                                            By                  ,Deputy Clerk




                                                                                        Exhibit A, Page 53
                                                                                 M 02 201i
      Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 47 of 87 Page ID #:54
                            0                                                     3:(s6
           Lee R. Feldman, Esq.(SBN
            e,eal e e eldmanlaw.com                             CONFORMED COPY
            [ onard H. Sansanowicz, Esq.(SBN 255729)
           leonard@leefeldmanlaw.com
                                                                       ORIGINAL FILIED
                                                              SuSerlor Court of California
       2                                                           durity of LOS Angeles
           FELDMAN BROWNE OLIVARES
           A Professional Corporation                                 JAN 3 0 2011
           12400 Wilshire Blvd., Suite I 100
        4 Los Angeles, California 90014                   Sherri R. Carter, lixecutivo Officcr/ClUk
           Telephone:(310) 207-8500
           Fax:       (310) 207-8515                      QL1S 7ALVAjjrj4& —,Deputy
            Attorneys for Plaintiffs, HENRY CHEN,
            REBECCA FAULKNER,and all others
        171 similarly situated
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA

        9                   COUNTY OF LOS ANGELES — CENTRAL CIVIL WEST
z
9      10
            HENRY CHEN,an individual, REBECCA           CASE NO. BC641930
       11   FAULKNER,an individual, and all others
O'u         similarly situated                         [Case Assigned to Honorable Maren E. Arelson in
       12                                              Department 3071
Z
       13          Plaintiffs,                          CLASS ACTION
0      14           VS.                                    PLAINTIFFS' FIRST AMENDED
                                                           COMPLAINT FOR DAMAGES AND
       15    UNITED TALENT AGENCY, LLC,a                   RESTITUTION AND FOR:
             Florida Limited Liability Company; FORD
       16    MOTOR COMPANY a Delaware                          FAILURE TO PAY WAGES FOR ALL
             Corporation; E        RLDWIDE, a                  TIME WORKED AT MINIMUM
       17    business entity of unknown form;                  WAGE RATE,IN VIOLATION OF
             CYNTHIA ARCARO ENTERPRISES                        CALIFORNIA LABOR CODE
       18    CALIFORNIA, LLC, a California Limited             SECTIONS 1194 AND 1197
             Liability Company; and DOES I through
       19    100, inclusive,                                   FAILURE TO PAY OVERTIME
                                                               WAGES FOR DAILY OVERTIME
       20           Defendants.                                AND ALL TIME WORKED,IN
                                                               VIOLATION OF CALIFORNIA
       21                                                      LABOR CODE SECTIONS 510,1194,
                                                               AND 1198
       22
       23                                                      FAILURE TO AUTHORIZE OR
                                                               PERMIT REST PERIODS OR PAY
                                                               REST PERIOD PREMIUM WAGES,
       24                                                      IN VIOLATION OF CALIFORNIA
                                                               LABOR CODE SECTION 226.7
       25
       26                                                      FAILURE TO PROVIDE TIMELY,
                                                               ACCURATE WAGE STATEMENTS,
       27                                                      IN VIOLATION OF CALIFORNIA
                                                               LABOR CODE SECTION 226
       28                                                      FAILURE TO TIMELY PAY ALL
                                                     I
                    FIRST AMENDED    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                             Exhibit A, Page 54
              Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 48 of 87 Page ID #:55
.4                                  1071
                                                                            EARNED WAGES DUE AT TIME OF
                1                                                           SEPARATION OF EMPLOYMENT,IN
                                                                            VIOLATION OF CALIFORNIA
                2                                                           LABOR CODE SECTIONS 201,202

                3                                                           UNFAIR BUSINESS PRACTICES,IN
                                                                            VIOLATION OF BUSINESS AND
                4                                                           PROFESSIONS CODE SECTION
                                                                            17200,et seq.
                5
                                                                            CIVIL PENALTIES PURSUANT TO
                6                                                           LABOR CODE SECTION 2698,et seq.

                7                                                       DEMAND FOR A JURY TRIAL
                8          COME NOW plaintiffs HENRY CHEN and REBECCA FAULKNER (collectively,
     rn
                9 "Plaintiffi"), as individuals and representatives of those similarly situated, by and through their
          z
               10 undersigned attorneys and for this complaint against defendants UNITED TALENT AGENCY, LLC,
     0
               11 a Florida Limited Liability Company ("UTA"); FORD MOTOR COMPANY, a Delaware

     0:;       12 Corporation ("FORD"); EWI WORLDWIDE, a business entity of unknown form ("EWI");
       Z
               13 CYNTHIA ARCARO ENTERPRISES CALIFORNIA, LLC, a California Limited Liability
               14 Company ("ARCARO          CA"); and DOES I through 100, inclusive (collectively, "Defendants"),
               15 allege upon personal knowledge and belief as to their own acts, and upon information and belief
               16 (based upon the investigation of their counsel) as to all other matters, as to which allegqtions they
               17 believe substantial evidentiary support will exist after a reasonable opportunity for further
               18 investigation and discovery, as follows:
               19                                      L       INTRODUCTION

               20          This is a class action lawsuit seeking unpaid wages and interest thereon for failure to pay for

               21   all hours worked at least at minimum wage; failure to pay overtime premium wages for overtime

               22 hours worked; statutory penalties for failure to provide timely and accurate wage statements; waiting

               23 time penalties in the form of continuation wages for failure to timely pay employees all wages due
               24 upon separation of employment; liquidated damages for failure to pay minimum wage; unjust

               25 enrichment; injunctive relief and other equitable relief; reasonable attorney's fees pursuant to
               26 California Labor Code sections 226(h) and 11 94; costs; and interest brought on behalf of Plaintiffs
               27 and others similarly situated.
               28
                                                               2
                            FIRST AMENDED      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                              Exhibit A, Page 55
        Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 49 of 87 Page ID #:56


                                                    H.      THE PARTIES

                     1       Plaintiff Henry Chen ("Chen) is, and at all times herein mentioned was, an individual
         2
              residing in Los Angeles County. Plaintiff was jointly employed as a product specialist by Defendants
          3
              UTA,Ford, and EWl to showcase Ford vehicles at various automobile shows from September 2013
         4
              through January 3, 2016, throughout California and other locations.
          5
                     2.      Plaintiff Rebecca Faulkner C'Faulknee,) is, and at all times herein mentioned was, an
         6
              individual residing in Massachusetts and New Hampshire..Plaintiff has been jointly employed as a
          7
         8 product specialist by all Defendants to showcase Ford vehicles at various automobile shows since

              September 2008 throughout California and other locations.
         9
    2                3.      Plaintiffs are informed and believe and on that basis allege that Defendant UTA is,
         10
0             and at all times herein mentioned was, a Florida Limited Liability Company that jointly employed
    0
              Plaintiffs and other non-exempt employees throughout the State of California and therefore its
    <    12
    Z
    0         conduct forms a significant basis of the claims asserted in this matter.
         13
                     4.      Plaintiffs are informed and believe and on that basis allege that Defendant FORD is,
         14
              and at all times herein mentioned was, a Delaware corporation that jointly employed Plaintiffs and
         15
              other non-exempt employees throughout the State of California and therefore its conduct forms a
         16
              significant basis of the claims asserted in this matter.
         17
                     5.      Plaintiffs are informed and believe and on that basis allege that Defendant EWI is,
         18
              and at all times. herein mentioned was, a Delaware corporation thatjointly employed Plaintiffs and
         19
              other non-exempt employees throughout the State of California and therefore its conduct forms a
         20
              significant basis of the claims asserted in this matter.
         21
                      6.     Plaintiffs are informed and believe and on that basis allege that Defendant ARCARO
         22
              CA is, and at all times herein mentioned was, a California limited liability company that jointly
         23
              employs Plaintiff Faulkner and other non-exempt employees throughout the State of California and
         24
              therefore its conduct forms a significant basis of the claims asserted in this matter.
         25
                      7.     Plaintiffs are informed and believe and thereon allege that defendant Does I through
         26
              50 are corporations or are other business entities or organizations of a nature unknown to Plaintiffs.
         27
                      8.     Plaintiffs are informed and believe and thereon allege that UTA is authorized to do
         28

                                                       3
                         FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                         Exhibit A, Page 56
      Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 50 of 87 Page ID #:57
                                                                       0
            business within the State of California and is doing business in the State of California and/or that
        I
        2 Defendants Does 51 through 60 are, and at all times relevant hereto were, individuals acting on

            behalf of UTA in the establishment of, or ratification, of, the aforementioned illegal wage and hour
        3
            practices or policies. UTA operates in Los Angeles County and employed Plaintiff Chen and other
        4
            putative class members in Los Angeles County and throughout California.
        5
                  9.     Plaintiffs are informed and believe and thereon allege that FORD is authorized to do
        6
        .
          business within the State of California and is doing business in the State of California and/or that
        7
            Defendants Does 61 through 70 are, and at all times relevant hereto were, individuals acting on
        8
            behalf of FORD in the establishment of, or ratification, of, the aforementioned illegalwage and hour
        9
 Z
 p     10 practices or policies. FORD operates in Los Angeles County and employed Plaintiff Chen andother

0—     II   putative class members in Los Angeles County and throughout California.
W R
                   10.     Plaintiffs are informed and believe and thereon allege that EWl is authorized to do
       12
 Z
            business within the State of California and is doing business in the State of California and/or that
       13
            Defendants Does 71 through 80 are, and at all times relevant hereto were, individuals acting on
       14
            behalf of EWi in the establishment of, or ratification, of, the aforementioned illegal wage and hour
       15
            practices or policies. EWl operates in Los Angeles County and employed Plaintiff Chen and other
       16
            putative class members in Los Angeles County and throughout California.
       17
                   11.     Plaintiffs are informed and believe and thereon allege that ARCARO CA is
       18
            authorized to do business within the State of California and is doing business in the State of
       19
       20 California and/or that Defendants Does 81 through 90 are, and at all times relevant hereto were,

       21 individuals acting on behalf of ARCARO CA in the establishment of, or ratification, of, the

            aforementioned illegal wage and hour practices or policies. ARCARO CA operates in Los Angeles
       22
            County and employed Plaintiff Faulkner and other putative class members throughout California.
       23
                   12.     Plaintiffs are informed and believe and thereon allege that Defendants Does 91
       24
            through 100 are individuals unknown to Plaintiffs. Each of the individual defendants is sued
       25
            individually and in his or her capacity as an agent, shareholder, owner, representative, manager,
       26
            supervisor, independent contractor and/or employee of each Defendant and participated in the
       27
            establishment of, or ratification, of, theaforementioned illegal wage and hour practices or policies.
       28

                                                             4
                     FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                   Exhibit A, Page 57
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                       13.     Plaintiffs currently are unaware of the true names of Defendants Does I through 100.
           1
               Plaintiffs sue said defendants by said fictitious names and will amend this complaint when the true
           2
               names and capacities are ascertained or when such facts pertaining to liability are ascertained, or as
           3
               permitted by law or by the Court. Plaintiffs are informed and believe that each of the fictitiously
           4
               named defendants is in some manner responsible for the events and allegations set forth in this
           5
               complaint.
           6
                       14.     Plaintiffs are informed, believe, and thereon allege that at all relevant times, each
           7
               defendant was an employer, was the principal, agent, partner, joint venturer, officer, director,
           8
W              controlling shareholder, subsidiary, affiliate, parent corporation, successor in interest and/or
           9
    Z
          10 predecessor in interest of some or all of the other Defendants, and was engaged with some or all of
0              the other defendants in ajoint enterprise for profit, and bore such other relationships to some or all of

    E,,   12
               the other defendants so as to be liable for their conduct with respect to the matters alleged in this
    ,;Z
    Z
               complaint. Plaintiffs further are informed and believe and thereon allege that each defendant acted
          13
    2          pursuant to and within the scope of the relationships alleged above, and that at all relevant times,
          14
               each Defendant. knew or should have known about, authorized, ratified, adopted, approved,
          15
               controlled, aided and abetted the conduct of all other defendants. As used in this complaint,
          16
               "Defendant" means "Defendants and each of them," and refers to the Defendants named in the
          17
               particular cause of action in which the word appears and includes defendants UTA, FORD, EWI,
          18
               ARCARO CA,and Does I through 100.
          19
                       15.     At all times mentioned herein, each Defendant was the co-conspirator, agent, servant,
          20
               employee, and/orjoint venturer of each of the other defendants and was acting within the course and
          21
               scope of said conspiracy, agency, employment, and/or joint venture and with the permission and
          22
               consent of each of the other Defendants.
          23
                       16.     Plaintiffs make the allegations in this complaint without any admission that, as to any
          24
               particular allegation, Plaintiffs bear the burden of pleading, proving, or persuading. Plaintiffs reserve
          25
               all of their rights to plead in the alternative.
          26

          27
                                                  111.    JURISDICTION AND VENUE
                       17.     This Court has jurisdiction and venue is proper in this county for the following
          28

                                                                  5
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                          Exhibit A, Page 58
          Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 52 of 87 Page ID #:59


                reasons: Defendants operate throughout California; Defendants employed Plaintiff Chen in Los

                Angeles County; the principal violations of California law occurred in California; the conduct of
           2
                Defendants forms a significant basis for Plaintiffs' and the Class Members' claims; and Plaintiffs
           3
                and Class Members seek significant relief from Defendants.
           4
                                  IV.    DESCRIPTION OF ILLEGAL PAY PRACTICES
           5
                       18.     Pursuant to the applicable Industrial Welfare Commission Wage Order C'Wage
           6
                Ordee,), codified at California Code of Regulations title 8, section 11 140, UTA, FORD, EWI,
           7
                ARCARO CA,and business entities sued as DOES 1-50 were and are employers of Plaintiffs and
           8
rA              others similarly situated within the meaning of the applicable Wage Order and applicable California
           9
     z          Labor Code sections. Therefore, each of these Defendants is jointly and severally liable for the
           10
0               wrongs complained of herein in violation of the Wage Order and the California Labor Code.

                       19.     Plaintiffs worked as product specialists for Defendants, representing Ford Motor
           12
     z
                Company at auto shows throughout California and other locations. The auto shows ranged in
           13
     0          duration from a few days to a couple of weeks. Defendants UTA and ARCARO CA contracted with
     0:    14
                FORD to provide product specialists at the auto shows. Defendants UTA and ARCARO CA are
           15
                "temporary services employers" under the meaning of California Labor Code section 201.3.
           16
                       20.     Defendants, and each of them, jointly employed Plaintiffs and others similarly
           17
                situated by controlling the wages, hours, and/or working conditions of the non-exempt employees
           18
                who were product specialists at Ford auto shows. Defendants UTA and ARCARO CA controlled the
           19
                wages and working conditions of non-exempt employees, Defendant FORD controlled non-exempt
          20
                employees' working conditions, Defendant EWI provided supervisors who controlled non-exempt
          21
           22 employees' working conditions, and Defendants UTA, ARCARO CA,and FORD evaluated each

                non-exempt employee's performance, considered non-exempt employees for rehire, and had the
           23
                authority to discharge non-exempt employees at will.
           24
                       21.     Faflure to pay wages for all hours worked at California's minimum wage:
           25
                Defendants employ many of their employees, including Plaintiffs, as non-exempt employees. In
           26
                California, an employer is required to pay hourly non-exempt employees for all "hours worked,"
           27
                which includes all time that an employee is under control of the employer and all time the employee
           28

                                                                6
                         FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                       Exhibit A, Page 59
        Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 53 of 87 Page ID #:60
                                C)
              is suffered and permitted to work. This includes the time an employee spends, either directly or

              indirectly, performing services which inure to the benefit of the employer.
          2
                      22.      Plaintiffs and similarly situated employees worked manyhours for which Defendants
          3
          4 failed to compensate the employees at all. Specifically, Defendants had a policy and/or practice

              requiring their non-exempt employees to report to their exhibit booth workstations at least fifteen
          5
              (15) minutes prior to the start of each workday, and at least thirty(30) minutes prior to the start of the
          6
              workday on the first day of each auto show. Defendants failed to compensate Plaintiffs and similarly
          7
              situated employees for the pre-shift time during which they were subject to Defendants' control but
          8
              were not paid.
          9
  z                   23.      Defendants also had a policy and/or practice of requiring non-exempt employees to
  2      10
0-            complete training sessions online, which required hours of time. Defendants failed to compensate
W        II
9 8      12 Plaintiffs and similarly situtated employees for any time they spent on online training sessions.

                      24.      Defendants further had a policy and/or practice ofrequiring non-cxcmpt employees to
         13
    0         book their travel exclusively through Defendants, who paid for the transit. In this way, Defendants
         14
              controlled the manner and means of the extended travel time of Plaintiffsand other similarly-situated
         15
              employees. Such extended travel time is compensable at least at the minimum wage.
         16
                      25.      The above issues were common to each non-exempt employee and predominated
         17
              among all non-exempt employees.
         18
                      26.      Failure to pay wages for all hours worked in excess of eight hours per day at the
         19
              non-exempt employees' overtime rate of pay: As a result of Defendants' policy and/or practice
         20
          1   requiring non-exempt employees to report to work either 15 or 30 minutes prior to their scheduled
         2
              start time, Defendants' non-exempt employees routinely worked more than eight hours per workday.
         22
                      27.      California Labor Code sections 51 0 and 11 94 require an employer to compensate
         23
              employees a higher rate of pay for hours worked in excess of eight hours in a workday.
         24
                      28.           California Labor Code section 1198 provides that the maximum hours set by the
         25
              Industrial Welfare Commission ("IWC'or "Commission") shall be the maximum hours of labor for
         26
              employees. The Wage Order also provides for higher rates of pay for hours worked in excess of
         27
              eight hours in a workday.
         28

                                                                  7
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                         Exhibit A, Page 60
        Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 54 of 87 Page ID #:61


                     29.      Despite that California law requires employers to pay employees a higher rate of pay
          1
          2 for all hours worked in excess of eight hours in a workday, Defendants failed to pay their non-

              exempt employees overtime wages due to them for their daily overtime hours worked. Specifically,
          3
              Defendants failed to account for pre-shift time that Plaintiffs and other non-exempt employees spent
          4
              subject to their control and the overtime hours that forced the employees to work, and Defendants
          5
              failed to pay those employees overtime premium wages of one and one-half times their the regular
          6
              rate of pay for all time in excess of eight hours in a workday in which they were subject to
          7
              Defendants' control.
          8
CA                   30.      Defendants also, as a matter ofpolicy and/or procedure, failed to account forovertime
14        9
ad
-C~ Z
   LD         hours worked by non-exempt employees on a daily basis, instead calculating overtime hours after
         10
0             employees had worked morethan forty(40)hours in aworkweek. By ignoring daily overtime hours,
W 2      11

9 _~
0 :Z
         12 Defendants failed compensate Plaintiffs and similarly situtated employees for all of their overtime
    Z
    =         hours worked.
         13
                     31.      Defendants further failed to adequately compensate Plaintiffs and other non-exempt
         14
              employees for all extended travel time, including overtime hours for the travel time that Plaintiffs
         15
              and other similarly situtated were subjected to Defendants' control.
         16
                     32.      The above issues were common to each non-exempt employee and predominated
         17
              among all non-exempt employees.
         18
                     33.      Failure to pay non-exempt employees wages to compensate them for workdays
         19
         20 Defendants failed to authorize or permit rest periods: California law requires an employer to

              provide an employee a rest period of ten (10) net minutes for every four hours worked, "which
         21
              insofar as practicable shall be in the middle of each work period." Cal. Lab. Code §226.7; Wage
         22
              Order §12. Thus, employees are entitled to 10 minutes rest for shifts from three and one-half to six
         23
              hours in length, 20 minutes for shifts between six and ten hours in length, and so on. Brinker Rest.
         24
              Corp. v. Super Ct.(Hohnbauni)(2012)53 CalAth 1004,1029.
         25
                     34.      If an employer fails to authorize or permit a required rest period, the employer must
         26
              pay the employee one hour of pay at the employee's regular rate of compensation for each work day
         27
              the employer did not provide all legally required rest periods.
         28

                                                               8
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                      Exhibit A, Page 61
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                              G                                         0
         1          35.     Defendants, as a matter of policy and/or practice, failed to authorize or permit all

             separately required ten-minute rest periods. Instead, Defendants aggregated meal and rest period time
         2
             into a single hour-long "break." Thus, if non-exempt employees worked seven Or more hours,
         3
             Defendants did not, as a matter of policy and/or procedure, authorize or permit two separate rest
         4
         5   periods of at least ten minutes each. Defendants' policies and procedures ensured Defendants did not

             authorize or permit non-exempt employees to take all legally required rest periods.
         6
                    36.     Defendants adequately staffed the auto shows to allow each product specialist time to
         7
             take the required rest periods, and the nature of the work did not make it impracticable to authorize
         8
             and permit rest periods in the middle of each four-hour work period when non-exempt employees
         9
19 Z
             rked seven hours Or more.
        10 wo
0-                  37.     Defendants also failed to pay premium wages to Plaintiff and similarly situated

             employees to compensate them for each workday Defendants failed to authorize or permit the
        12
0
             employees all legally required rest periods. Defendants employed policies and procedures which
        13
        14 ensured employees did not receive any premium wages to compensate them for the workdays in

             which Defendants failed to authorize or permit the employees all legally required rest periods.
        15
                    38.     This practice resulted in Plaintiff and all other similarly situated employees not
        16
             receiving premium wages to compensate them for workdays which Defendants did not authorize or
        17
             permit them to take rest periods, in violation of California law.
        18
                    39.     The above issues were common to each non-exempt employee and predominated
        19
        20 among all non-exempt employees.

                    40.     Failure to pay wages timely: California Labor Code section 204 provides that all
        21
             wages other than those mentioned in Section 201.3 are due and payable either weekly, biweekly, or
        22
             twice per calendar month. California Labor Code section 201.3(b) provides, "if an employee of a
        23
        24 temporary services employer is assigned to work for a client, that employee's wages are due and

             payable no less fi-equently than weekly, regardless of when the assignment ends, and wages for work
        25
             performed during any calendar week shall be due and payable not later than the regular payday of the
        26
             following calendar week."
        27
                    41. Defendants UTA and ARCARO CA employed a policy and procedure which ensured
        28

                                                    9
                      FIRST AMENDED COMPLAINT FOR DAMAGES TND DEMAND FOR JURY TRIAL
                                                                                    Exhibit A, Page 62
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                               G                                        G
             that non-exempt employees would not get paid their earned wages for as few as thirty(30) and as

             many as ninety(90) days after the end of the auto show the employees worked.
         2
                      42.    Thus, Defendants' pay practices violated California Labor Code sections 204 and
         3
             201.3.
         4
                      43.    The above issues were common to each non-exempt employee and predominated
         5
             among all non-exempt employees.
         6
                      44.    Failure to provide non-exempt employees timely and accurate wage statements:
         7
             California Labor Code section 226(a) provides that employers must provide itemized wage
         8
             statements to their employees, including,inter alia, gross and net wages earned, total hours worked
         9
,4 Z
             bytheemployce, andall applicable hourly rates in effect during the pay period and the corresponding
it R    10
04
0  Z         number of hours worked at each hourly rate by the employee.

                      45.    Defendants UTA and ARCARO CA failed to provide accurate wage statements to
        12
  Z
  52         Plaintiffs and similarly situated non-exempt employeeswho were subject to Defendants' control for
        13
  X          uncompensated time, including overtime hours, or the premium wages for missed rest periods and
        14
             overtime hours to which Plaintiffs and other similarly situated non-exempt employees were and are
        15
             entitled.
        16
                      46.    Defendants UTA and ARCARO CA also failed to include the rate of pay and total
        17
             hours worked for each temporary assignment on thewage statements of Plaintiffs and other similarly
        18
             situated non-exempt employees.
        19
                      47.    In addition, Defendants UTA and ARCARO CA failed to provide wage statements
        20
             either semimonthly or weekly (as required under Labor Code section 201.3), in violation of Labor
        21
             Code section 226(a).
        22
                      48.    The above issues were common to each non-exempt employee and predominated
        23
             among all non-exempt employees.
        24
                      49.    Failure to pay non-exempt employees all wages due at time of separation of
        25
             employment: An employer is required to pay all unpaid wages timely after an employee's
        26
             employment ends. The wages are due immediately upon termination (Labor Code section 201) or
        27
             within 72 hours of resignation (Labor Code section 202).
        28

                                                      10
                         FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                   Exhibit A, Page 63
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                     50.      Because Defendants failed to pay Plaintiff Chen and other non-exempt employees

              with all wages (including minimum wage, overtime wages, and unpaid rest period premium wages,
         2
              as discussed above) during their employment and never paid these amounts after separation of
         3
         4 employment, Defendants failed to pay those employees timely after each employee's termination

         5 and/or resignation.
                     51.     Further, Defendants had a policy and/or procedure of not paying any wages until 30to
         6
         7 90 days following the last show in which Plaintiffs and other non-exempt employees worked, in

              violation of California Labor Code sections 201, 201.3, 202, and 204.
         8
                     52.     The above issues were common to each non-excmpt employee and predominated
         9
   Z
   2          among all non-exempt employees.
         10
05                                       HL      CLASS ACTION          ALLEGATIONS
 2      11
   el                53.     Plaintiffs bring this action on behalf of themselves, on behalf of all others similarly
0 7Z    12
   7
              situated, and on behalf of the General Public, and as members of a Class defined as follows:
         13
   9                          A.      Minimum Wage Class: All current and former hourly non-exempt employees
        14
              employed by Defendants in California at any time within the four years prior to the filing of the
        15
              initial complaint in this action and through the date notice is mailed to a certified class who were not
         16
              compensated at least at minimum wage for all hours worked.
         17
                              B.     Overtime Class: All current and former hourly non-exempt employees
         18
              employed by Defendants in California at any time within the four years prior to the filing of the
         19
              initial complaint in this action and through the date notice is mailed to a certified class who worked
        20
              more than eight hours in a workday and/or 40 hours in a workweek to whom Defendants did not pay
        21
        22 overtime wages.

                              C.     Rest Period Class: All current and former hourly non-exempt employees
        23
              employed by Defendants in California at any time within the four years prior to the filing of the
        24
              initial complaint in this action and through the date notice is mailed to a certified class who worked
        25
              shifts of more than six hours yet Defendants did not authorize or permit all required rest periods of
        26
              not less than ten minutes each.
        27
                              D.     Wage Statement Class: All current and former hourly non-exempt employees
        28

                                                                II
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                        Exhibit A, Page 64
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              employed by Defendants in California at any time within one year prior to the filing of the initial

              complaint in this action and through the date notice is mailed to a certified class who received
          2
              inaccurate or incomplete wage statements.
          3
                               E.     Waiting Time Class: All current and former hourly non-exempt employees
         4
              employed by Defendants in California at any time within the three years prior to the filing of the
         5
              initial complaint in this action and through the date notice is mailed to a certified class who did not
         6
              receive payment of all unpaid wages within the statutory time period upon separation of
          7
              employment.
          8
W                              F.     California Class: All aforementioned classes are hereby collectively referred
          9
4Z
         io to as the "California Class."
0                     54.      There is a well defined community of interest in the litigation and the classes are
1W -     II

9 P
0 <      12
              ascertainable:
    Z
    2                          A.     Numerosity: While the exact number of class members in each class is
         13
              unknown to Plaintiff at this time, the Plaintiff classes arc so numerous that the individual joinder of
         14
              all members is impractical under the circumstances of this case.
         15
                               B.     Common Questions Predominate: Common questions of law and fact exist
         16
              as to all members of the Plaintiff classes and predominates over any questions that affect only
         17
              individual members of each class. The common questions of law and fact include, but are not limited
         18
              to:
         19
                                      i.      Whether Defendants violated California Labor Code sections 1194 and
         20
              1197 by not paying employees' wages at least at a minimum wage rate for time that the California
         21
              Class were subject to Defendants' control but were not paid;      -
         22
                                      ii.     Whether Defendants violated California Labor Code sections 51 0 and
         23
              1194 by not paying the California Class at the applicable overtime rates of pay for workdays worked
         24
              in excess of eight hours as a result of not paying the Class Members for all hours worked in a
         25
              workday;
         26
                                      iii.    Whether Defendants violated California Labor Code section 226.7, as
         27
              well as the applicable Wage Order, by employing California Class Members without authorizing or
         28

                                                     12
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                             I                       Exhibit A, Page 65
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       1   permitting all their required rest periods or paying rest period premium wages;

                                  iv.     Whether Defendants failed to provide the California Class Members
      2
           with accurate itemized statements;
      3
                                  V.      Whether Defendants failed to provide California Class Members with
      4
           all unpaid wages within the statutory time period following separation of employment;
      5
                                  vi.     Whether Defendants committed unlawfiil business acts or practices
      6
           within the meaning of Business and Professions Code section 17200 el seq.;
       7
                                  vii.    Whether Class Members are entitled to unpaid wages, penalties,
       8
           interest, fees and other relief in conjunction with their claims; and
       9
                                  viii. Whether, as a consequence ofDefendant's unlawful conduct, the Class
      10
0-         Members are entitled to restitution, and/or equitable relief; and
      II
                                  ix.     Whether Defendant's affirmative defenses, if any, raise any common
      12
 Z
           issues of law or fact as to Plaintiff, and the Class Members as a whole.
      13
                           C.     Typicality: Plaintiffs' claims are typical of the claims of the Class Members
      14
           in each of the classes. Plaintiffs and the members of the Minimum Wage Class sustained damages
      15
           arising out of Defendants' failure to pay wages at least California's minimum wage for all time in
      16
           which they Plaintiffs and other Class Members were subject to Defendants' control. Plaintiffs and
      17
           the members of the Overtime Class sustained damages arising out of Defendants' failure to pay
      18
           overtime premium wages for workdays in which Class Members were subject to Defendants' control
      19
      20 but not paid for their time, resulting in workdays in which employees worked more than eight hours.

           Plaintiffs and the members of the Rest Period Class sustained damages arising out of Defendants'
      21
           failure to authorize or permit Class Members all legally required rest periods and failure to pay rest
      22
           period premium wages as compensation. Plaintiffs and the mernbersof the Wage Statement Class
      23
      24 sustained damages arising out of Defendants' failure to fiimish Class Members with accurate

           itemized wage statements in compliance with California Labor Code section 226. Plaintiffs and the
      25
           members of the Waiting Time Class sustained damages arising out of Defendants' failure to provide
      26
           Class Members all unpaid yet earned wages due upon the end of their employment.
      27
                           D.      Adequacy of Representation: Plaintiffs will fairly and adequately protect the
      21

                                                  13
                    FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                    Exhibit A, Page 66
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               interests of the members of each class. Plaintiffs have no interest that is adverse to the interests of the

               other class members. Plaintiffs' Counsel is qualified to conduct the litigation.
           2
                               E.      Superiority: A class action is superior, to other available means for the fair
           3
               and efficient adjudication of this controversy. Because individual joinder of all members of each
           4
               class is impractical, class action treatment will permit a large number of similarly situated persons to
           5
           6 prosecute their common claims in a single forum simultaneously, efficiently, and without the

               unnecessary duplication of effort and expense that numerous individual actions would engender. The
           7
           8 expenses and burdens of individual litigation would make it difficult or impossible for individual
               members of each class to redress the wrongs done to them, while important public interests will be
           9
ec Z      10 served by addressing the matter as a class action. The cost to and burden on the court system of
0         I I adjudication of individualized litigation would be substantial, and substantially more than the costs
    R
    0
    L:         and burdens of a class action. Individualized litigation would also present the potential for
          12
    Z
               inconsistent or contradictory judgments.
          13
                               F.      Public Policy Consideration: Employers throughout the state violate wage
          14
               and hour laws. Current employees often are afraid to assert their rights out of fear of direct or indirect
          15
          16 retaliation. Former employees are fearful of bringing actions because they perceive their former
             employers can blacklist them in their future endeavors through negative references and by other
          17
               means. Class actions provide the class members who are not named in the complaint with a type of
          18
               anonymity that allows for vindication of their rights.
          19
                                                   FIRST CAUSE OF ACTION
          20
                   FAILURE TO PAY AT LEAST THE LEGAL MINIMUM WAGE RATE FOR ALL
          21
                   TIME WORKED,IN VIOLATION OF LABOR CODE SECTIONS 1194 AND 1197
          22
               (By the Minimum Wage Class against UTA,FORD, EWI, ARCARO CA,and DOES 1-50)
          23
                       55.     Plaintiffs hereby incorporate by reference paragraphs 1-54 above, as if fully set herein
          24

          25 by reference.
          26        56.    At times relevant to this Complaint, Plaintiffs and the members of the Minimum

               Wage Class were non-exempt employees ofUTA,FORD, EWI, Does 1-50,or any of them, covered
          27
          28 by California Labor Code sections 1194 and 1197. At times relevant to this Complaint, Plaintiff

                                                                   14
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRUL
                                                                                           Exhibit A, Page 67
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               Faulkner and similarly situated members of the Minimum Wage Class were non-exempt employees
           I
               of ARCARO CA,covered by California Labor Code sections 1194 and 1197.
           2
                      57.     Pursuant to Labor Code sections 1194, 1197, and the Wage Order, Plaintiffs and
           3
               members of the Minimum Wage Class are entitled to receive wages for all hours worked and those
           4
               wages must be paid at leasf at the minimum wage rate in effect during the time the employees earned
           5
               the wages.
           6
                      58.      UTA's payroll policies and procedures required employees of the California Class to
           7
               be engaged, suffered, or permitted to work without being paid wages for all of the time in which they
           8
an             were subject to UTA's control, including but not limited to pre-shift reporting time and extended
           9
  tc z
 ~t 9          travel time.
          10
0141-
    ad                59.      FORD's payroll policies and procedures required employees of the California Class to
          11
               be engaged, suffered, or permitted towork without being paid wages for all of the time in which they
0 <       12
  Z
               were subject to FORD's control, including but not limited to pre-shift reporting time and extended
          13

     ,
     0
          14 travel time.

                      60.      EWl's payroll policies and procedures required employees of the California Class to
          15
               be engaged, suffered, or permitted to work without being paid wages for all of the time in which they
          16
               were subject to EWl's control, including but not limited to pre-shift reporting time and extended
          17
               travel time.
          18
                      61.      ARCARO CA's payroll policies and procedures required employees ofthe California
          19
               Class to be engaged, suffered, or permitted to work without being paid wages for all of the time in
          20
               which they were subject to ARCARO CA's control, including but not limited to pre-shift reporting
          21
          22 time and extended travel time.

                      62.      As a result of Defendants' unlawful conduct, Plaintiffs and members of the Minimum
          23
          24 Wage Class have suffered damages in an amount subject to proof, to the extent that they were not

               paid wages at a minimum wage rate for all hours worked.
          25
                      63.      Pursuant to California Labor Code section 1194, Plaintiffs and members of the
          26
               Minimum Wage Class are entitled to recover unpaid minimum wage, interest thereon, and attorney's
          27
          21 fees and costs.

                                                      15
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                       Exhibit A, Page 68
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 62 of 87 Page ID #:69
                                 G                                          (7)
                      64.      Pursuant to California Labor Code section I 194.2(a), Plaintiffs and members of the
           1
               Minimum Wage Class are entitled to recover liquidated damages in the amount of their unpaid
          2
               minimum wage.
           3
                                                SECOND CAUSE OF ACTION
          4
                               FAILURE TO PAY OVERTIME WAGES,IN VIOLATION OF
           5
                               CALIFORNIA LABOR CODE SECTIONS 510,1194 AND 1198
          6
                  (By the Overtime Class Against UTA,FORD, EWI, ARCARO CA,and DOES 1-50)
           7
                      65.      Plaintiffs hereby incorporate by reference paragraphs 1-64 above, as if fully set herein
           8
rn             by reference.
           9
     z                66.      At times relevant to this Complaint, Plaintiffs and the members of the Overtime Class
          10
0              were non-exempt employees ofUTA,FORD, EWI, Does 1-50,or any ofthem, covered by California
14 2      11
   0
               Labor Code sections 510 and 1194 and the Wage Order. At times relevant to this Complaint,
0-
 Z
               Plaintiff Faulkner and similarly situated members of the Overtime Class were non-exempt employees
          13
     C         of ARCARO CA,covered by California Labor Code sections 5 10 and 1194 and the Wage Order.
          14
                      67.      Pursuantto California Labor Code sections 510 and 1194 and the Wage Order, non-
          15
               exempt employees are entitled to receive a higher rate of pay for all hours worked in excess of eight
          16
               hours in a workday.
          17
                      68.      California Labor Code section 51 0, subdivision (a), states in relevant part:
          18
          19                   Eight hours of labor constitutes a day's work. Any work in excess of
                               eight hours in one workday and any work in excess of 40 hours in any
          20                   one workweek and the first eight hours worked on the seventh day of
                               work in any one workweek shall be compensated at the rate of no less
          21
                               than one and on-half times the regular rate of pay for an employee.
          22                   Any work in excess of 12 hours in one day shall be compensated at
                               the rate of no less than twice the regular rate of pay for an employee.
          23                   In addition, any work in excess of eight hours on any seventh day of a
                               workweek shall be compensated at the rate of no less than twice the
          24                   regular rate of pay of an employee. Nothing in this section requires an
          25                   employer to combine more than one rate of'overtime compensation in
                               order to calculate the amount to be paid to an employee for any hour
          26                   of overtime work.

          27          69.      Further, California Labor Code section 1198 provides:
          28
                      The maximum hours of work and the standard conditions of labor fixed by the
                                                                  16
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                         Exhibit A, Page 69
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 63 of 87 Page ID #:70
                                G,                                         C~
                      commission shall be the maximum hours of work and the standard conditions of
           I          labor for employees. The employment of any employee for longer hours than those
                      fixed by the order or under conditions of labor prohibited by the order is unlawful.
           2

           3 Section 3(A)(1) of the Wage Order provides that eight hours of labor constitutes a day'swork, and
             that employees must be paid at the overtime rates specified in Labor Code section 510(a).
           4

           5          70.     UTA's payroll policies and procedures required Plaintiffs and similarly situated non-

               exempt employees of the Overtime Class to be subject to its control in excess of eight hours in a
           6
           7 workday, yet UTA did not pay employees overtime wages for this time. FORD's payroll policies
           8 and procedures required Plaintiffs and similarly situated non-exempt employees of the Overtime
Gn
14         9 Class to be subject to its control in excess of eight -hours in a workday, yet FORD did not pay
     z    10 employees overtime wages for this time. EWFs payroll policies and procedures required Plaintiffs
4
          II   and similarly situated non-exempt employees of the Overtime Class to be subject to its control in

               excess of eight hours in a workday, yet EWI did not pay employees overtime wages for this time.
          12
     Z
          13 ARCARO CA's payroll policies and procedures required Plaintiff Faulkner and similarly situated
     C         non-exempt employees of the Overtime Class to be subject to its control in excess of eight hours in a
          14
          15 workday, yet ARCARO CA did not pay employees overtime wages for this time.

          16          71.     As a result of Defendants' unlawful conduct, Plaintiffs and members ofthe Overtime

          17 Class have suffered damages in an amount subject to proof, to the extent that they were not paid
          18 wages at an overtime rate of pay for all hours worked which constitute overtime hours.
                    72.     Pursuant to California Labor Code section 1 194, Plaintiffs and the Overtime Class
          19
          20 members are entitled to recover the full amount of their unpaid overtime wages, prejudgment

          21 interest, and attorney's fees and costs.

          22
                                                THIRD CAUSE OF ACTION

          23       FAILURE TO AUTHORIZE OR PERMIT REST PERIODS,IN VIOLATION OF
                       CALIFORNIA LABOR CODE SECTION 226.7 AND THE WAGE ORDER
          24

          25     (By the Rest Period Class Against UTA,FORD, EWI, ARCARO CA,and DOES 1-50)
                      73.     Plaintiffs hereby incorporate by reference paragraphs 1-72 above, as if filly set herein
          26
          27 by reference.
                      74.     At times relevant to this Complaint, Plaintiffs and the members of the Rest Period
          28

                                                                17
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                        Exhibit A, Page 70
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           Class were non-exempt employees of UTA, FORD, EWI, Does 1-50, or any of them, covered by
       I
      2 California Labor Code section 226.7 and the .Wage Order. At times relevant to this Complaint,

           Plaintiff Faulkner and similarly situated members of the Rest Period Class were non-exempt
      3
           employees of ARCARO CA,covered by California Labor Code section 226.7 and the Wage Order.
      4
                  75.      California law requires an employer to authorize or permit an employee to take a rest
      5
           period of ten (10) net minutes for every four hours worked. Cal. Lab. Code §226.7; Wage Order
      6
           § 12. Such rest periods must be in the middle of the four-hour period "insofar as practicable." Id. If
      7
           the employer fails to provide any required rest period, the employer must pay the employee one hour
      8
           of pay at the employee's regular rate of compensation for each work day the employer did not

     10 provide at least one legally required rest period. Id.

00                 76.     UTA, FORD, EWI, ARCARO CA, and Does 1-50 failed to authorize or pernit
 W    11
 0
           Plaintiffs and other Class Members to take all required rest periods and failed to pay wages to
     12
0
           Plaintiffs and similarly situated employees to compensate them for each workday they worked more
      13
           than six hours yet UTA,FORD, EWI, ARCARO CA, and Does 1-50 did not authorize or permit all
     14
           rest periods to those employees. Rather, UTA, FORD, EWI, ARCARO CA, and Does 1-50
      15
           employed policies and procedures that ensured Plaintiffs and similarly situated employees would not
      16
           receive all legally required rest periods.
      17
                   77.     UTA, FORD, EWI, ARCARO CA, and Does 1-50 also employed policies and
      18
      19 procedures that ensured Plaintiffs and similarly situated employees did not receive any premium

     20 wages to compensate them for workdays that they did not receive all legally required rest periods.

                   78.     The above practices resulted in Plaintiff and all other similarly situated employees not
     21
     22 receiving wages to compensate them for workdays in which UTA,FORD, EWI, ARCARO CA,and

           Does 1-50 did not provide them with rest periods in compliance with California law.
     23
                   79.     Pursuant to California Labor Code section 226.7 and the Wage Order, Plaintiffs and
     24
           other Rest Priod Class Members seek and are entitled to one hour ofpay for each workday that UTA,
      25
           FORD, EWI, ARCARO CA, and Does 1-50 failed to provide all rest periods, plus pre-judgment
     26
           interest.
      27

      28 X

                                                     18
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                     Exhibit A, Page 71
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                                               FOURTH CAUSE OF ACTION
                  FAILURE TO PROVIDE TIMELY AND ACCURATE WAGE STATEMENTS, IN
           2
                             VIOLATION OF CALIFORNIA LABOR CODE SECTION 226
           3
               (By the Wage Statement Class Against UTA,FORD, EWI, ARCARO CA,and DOES 1-50)
           4
                    80.    Plaintiffs hereby incorporate by reference paragraphs 1-79 above, as if fully set herein
           5
           6 by reference.
                      81.     At all relevant times, Plaintiffs and the other members of the Wage Statement Class
           7
               were non-exempt employees of UTA,FORD, EWI, Does 1 -50, or any of them, covered by California
           8
               Labor Code section 226. At all relevant times, Plaintiff Faulkner and similarly situated members of
           9
-e   Z
               the Wage Statement Class were non-exempt employees of ARCARO CA, covered by California
il. R     10
04
0              Labor Code section 226.
          II
                      82.     Pursuant to California Labor Code section 226, subdivision (a), Plaintiffs and the
     <    12
     Z
               nther momhers of the clasq were entitled to receive, semimonthly orat the time of each payment of
          13
          14 wages, an itemized wage statement accurately stating the following:

                             (1) gross wages earned, (2) total hours worked by the employee,
          15                  except for any employee whose compensation is solely based on a
          16                  salary and who is exempt from payment of overtime under
                              subdivision (a) of Section 515 or any applicable order of the
          17                  Industrial Welfare Commission,(3) the number of piece-rate units
                              earned and any applicable piece rate if the employee is paid on a
          18                  piece-rate basis, (4) all deductions, provided that all deductions made
          19                  on written orders of the employee may be aggregated and shown as
                              one item,(5) net wages earned,(6) the inclusive dates of the period
          20                  for which the employee is paid,(7)the name of the employee and his
                              or her social security number, except that by January 1, 2008, only the
          21                  last four digits of his or her social security number or an employee
                              identification number other than a social security number may be
          22
                              shown on the itemized statement,(8) the name and address of the
          23                  legal entity that is the employer, and (9) all applicable hourly rates in
                              effect during the pay period and the corresponding number of hours
          24                  worked at each hourly rate by the employee and, beginning July 1,
                              2013,if the employer is a temporary services employer as defined in
          25
                              Section 201.3, the rate of pay and the total hours worked for each
          26                  temporary services assignment.

          27          83.     Defendants' illegal wage practices, including but not limited to Defendants' failure to

          28 pay at least minimum wage for all time worked, failure to pay overtime premium wages for all

                                                                 19
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                        Exhibit A, Page 72
        Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 66 of 87 Page ID #:73
                               G
              overtime hours worked, and failure to pay rest period premium wages, resulted in Defendants

              providing their non-exempt employees with inaccurate itemized wage statements in violation of
          2
              California Labor Code section 226,including but not limited to the employees' gross and net pay and
          3
          4 all applicable hourly rates and earnings at each rate, particularly for each temporary services

              assignment.
          5
                     84.     Further, pursuant to Labor Code section 201.3,subdivision(b), payment of wageswas
          6
              due no less frequently than weekly, yet Defendants failed to provide wage statements either weekly
          7
              or even semimonthly.
          8
                     85.     Defendants' failure to provide Plaintiffs and members of the Wage Statement Class
          9
    Z         with accurate wage statements was knowing and intentional. Defendants had the ability to provide
         10
0             Plaintiffs and members of the Class with accurate wage statements but intentionally failed to do so.
         11
              Defendants knowingly and intentionally put in place practices which deprived employees of wages
         12
    Z
              and resulted in Defendants' knowing and intentional failure to provide accurate wage statements.
         13
              These practices included Defendants' failure to provide Plaintiffs and other similarly situated
         14
              employees with wage statements of all the employees' applicable rates of pay and wages due.
         15
                     86.     As a result of Defendants' unlawful conduct, Plaintiffs and members of the Wage
         16
              Statement Class have suffered injury. The absence of accurate information in the form of wage
         17
              statements has prevented earlier challenges to Defendants' unlawful pay practices, will require
         18
              discovery and mathematical computations to determine the amount of wages owed, and will cause
         19
              difficulty and expense in attempting to reconstruct time and pay records. Defendants' conduct led to
         20
              the submission of inaccurate information about wages and amounts deducted from wages to state and
         21
              federal government agencies. As a result, Plaintiffs and similarly situated employees are required to
         22
              participate in this lawsuit and create more difficulty and expense for Plaintiffs and similarly situated
         23
              employees from having to reconstruct time and pay records than if Defendants had complied with
         24
              their legal obligations when required to do so.
         25
                     87.     Pursuant to California Labor Code section 226(e), Plaintiffs and members of the
         26
              Wage Statement Class are entitled to recover fifty dollars per employee for the initial pay period in
         27
              which a Section 226 violation occurred, and one hundred dollars per employee per violation for each
         28

                                                     20
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                        Exhibit A, Page 73
       Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 67 of 87 Page ID #:74


                 subsequent pay period, not to exceed an aggregate penalty of four thousand dollars per employee.

                        88.      Pursuant to California Labor Code Section 226(h), Plaintiffs and members of the
         2
                 Wage Statement Class are entitled to bring an action for injunctive relief to ensure Defendants'
         3
                 compliance with.Califomia Labor Code section 226(a). Injunctive relief is warranted because
         4
                 Defendants continue to provide currently employed members of the Class with inaccurate wage
         5
                 statements, in violation of California Labor Code section 226(a), and currently employed members of
         6
                 the Class have no adequate legal remedy for the continuing injuries that will be suffered as a result of
         7
                 Defendants' ongoing unlawful conduct. Injunctive relief is the only remedy available for ensuring
         8
                 Defendants' compliance with California Labor Code section 226(a).
         9
  z                              Pursuant to California Labor Code sections 226(e) and 226(h),Plaintiffs and members
        10              89.
0 ;,             of the Wage Statement Class are entitled to recover the full amount of penalties due under Section
W 9     I 1 11
  0
  U              226(e), reasonable attorney's fees, and costs of suit.
        12
 Z
02                                                  FIFTH CAUSE OF ACTION
Z P9    131
                 FAILURE TO PAY ALLWAGES TIMELY UPON SEPARATION OF EMPLOYMENT,
        14

        15                     IN VIOLATION OF LABOR CODE SECTIONS 201,201.3, AND 202
                           (By the Waiting Time Class Against UTA,FORD, EW], and DOES 1-50)
        16
                        90.      Plaintiffs hereby incorporate by reference paragraphs 1-89 above, as if fully set herein
        17
                 by reference.
        18
                        91.      At all relevant times, Plaintiffs and the other members of the Waiting Time Class
        19
                 were non-exempt employees of UTA,FOR6, EWI, and Does 1-50 covered by Labor Code sections
        20 I
                 201 or 202.
        21
                         92.     Pursuant to Labor Code sections 201.3(b) and 201 or 202, Plaintiffs and members of
        22
                 the Waiting Time Class were entitled upon separation of employment to timely payment of all wages
        23 I
                 earned and unpaid prior to such separation. Discharged employees were entitled to payment of all
        24
                 wages earned and unpaid prior to discharge immediately upon termination. Employees who resigned
        25
                 were entitled to payment of all wages earned and unpaid prior to resignation within 72 hours after
        26
                 giving notice of resignation or, if they gave 72 hours previous notice, they were entitled to payment
        27
                 of all wages earned and unpaid prior to resignation at the time of resignation.
        28
                                                         21
                                  AMENDED COMPLAINT FOR DAMTG-ES AND DEMAND FOR JURY TRIAL
                                                                                           Exhibit A, Page 74
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 68 of 87 Page ID #:75


                      93.     The employment of Plaintiffs and other Class Members was separated at the end of
           1
               each season, yet Defendants failed to pay all wages due upon separation of employment, including
           2
               unpaid minimum wage, overtime premium wages, and rest period premium wages.
           3
                      94.     Moreover, Defendants had a policy and/or practice of not paying Plaintiffs and other
           4
               similarly situated employees their paychecks until between thirty(30)and ninety(90)days following
           5
               the completion of a show, in violation of California Labor Code sections 201, 201.3, 202, and 204.
           6
               Thus, Defendants failed to timely pay Plaintiffs and other non-exempt employees their final
           7
           8 paychecks immediately upon discharge each time the employees' employment ended.
rA                    95.     Because of the above policies and/or practices, Defendants failed to timely pay
W          9
19
-e4 z
               Plaintiffs and other members of the Waiting Time Class all wages earned prior to separation of
          10
0              employment in accordance with Labor Code sections 201 or 202. Plaintiffs are informed and believe
W 2       11
               and thereon allege that at all relevant times within the limitations period applicable to this cause of
          12
     Z
     X         action, Defendants maintained a policy or practice of not timely paying non-exempt employees all
          13
               earned wages upon separation of employment.
          14
                      96.     Defendants' failure to timely pay Plaintiffs and other members of the Waiting Time
          15
               Class all wages earned prior to separation of employment in accordance with Labor Code sections
          16
               201 or 202 was willful. Defendants had the ability to pay all wages earned by non-exempt employees
          17
          18 prior to separation of employment in accordance with Labor Code sections 201 or 202 but

               intentionally adopted policies or practices incompatible with the requirements of Labor Code
          19
               sections 201 or 202. Defendants' practices are described in further detail above. When Defendants
          20
               failed to pay non-exempt employees timely upon separation of employment all unpaid wages earned
          21
          22 prior to such separation, Defendants knew what they were doing and intended to do what they did.

                      97.     Pursuant to Labor Code sections 201 or 202, Plaintiffs and other members of the
          23
          24 Waiting Time Class are entitled to all wages earned prior to separation of employment that

               Defendants did not pay them.
          25
                      98.     Pursuant to Labor Code section 203, Plaintiffs and other members of the Waiting
          26
               Time Class are entitled to continuation of their wages, from the day their earned and unpaid wages
          27
               were due upon separation of employment until paid, up to a maximum of30 days.
          28

                                                                22
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                        Exhibit A, Page 75
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                     99.     As a result of Defendants' conduct, Plaintiffs and other members ofthe Waiting Time

              Class have suffered damages in an amount, subject to proof, to the extent they were not paid for all
         2
              wages earned prior to the separation of their employment.
         3
                     100.    Asa result of Defendants' conduct, Plaintiffs and other members of the Waiting Time
         4
              Class have suffered damages in an amount, subject to proof, to the extent they were not paid all
         5
              continuation wages owed under Labor Code Section 203.
         6
                     101.    Pursuant to Labor Code sections 201,201.3,and 202, Plaintiffs and other members of
         7
              the Waiting Time Class are entitled to recover the full amount of their unpaid wages, continuation
         8
              wages under Section 203, and interest thereon.
         9
    2    10
                                               SIXTH CAUSE OF ACTION
0                      UNFAIR BUSINESS PRACTICES, IN VIOLATION OF BUSINESS AND

                                     PROFESSIONS CODE SECTION 17200,et seq.
        12
                                     (By the California Class Against All Defendants)
         13
                     102. Plaintiffs hereby incorporate by reference paragraphs 1-101 above, as if fully set
        14
              herein by reference.
         15
                     103.    The unlawful conduct of Defendants alleged herein constitutes unfair competition
         16
              within the meaning of Business and Professions Code Section 17200. This unfair conduct includes
         17
              Defendants' use ofpolicies and procedures which resulted in Defendants' failure to: pay employees
         18
              at least minimum wage for all time worked; pay overtime wages for workdays in excess of eight
         19
              hours and/or workweeks in excess of 40 hours; authorize or permit all required rest periods or pay
        20
              rest period premium wages; pay all earned wages within the statutory periods defined by California
        21
        22 Labor Code sections 201.3 and 204; provide timely and accurate wage and hour statements; and

              timely pay all wages due upon separation of employment and/or timely provide final paychecks.
        23
              Because of their unfair and unlawful business practices in violation of the Labor Code, Defendants
        24
              have gained a competitive advantage over other comparable companies doing business in the State of
        25
              California that comply with their obligations to do the following: pay minimum wage for all hours
        26
              worked; pay overtime premium wages for all hours worked; authorize or permit all required rest
        27
              periods; provide timely and accurate wage statements; and timely pay all unpaid wages following
        28

                                                               23
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                     Exhibit A, Page 76
       Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 70 of 87 Page ID #:77


             separation of employment,
         I
                    104.      As a result of Defendants' unfair competition as alleged herein, Plaintiffs and
        2
             members of the Minimum Wage Class, Overtime Class, Rest Period Class, Wage Statement Class,
        3
             and WaitingTime Class have suffered injury in fact and lost money or property, as described in more
        4
             detail above.
        5
                    105.      Pursuant to Business and Professions Code Section 17203,Plaintiffs and members of
        6
             the Minimum Wage Class, Overtime Class, Rest Period Class, Wage Statement Class, and Waiting
        7
             Time Class arc entitled to restitution of all wages and other monies rightfully belonging to them that
        8
             Defendants failed to pay them and wrongfully retained by means of their unlawful and unfair
        9
  z          business practices. Plaintiffs also seek an injunction against Defendants on behalf of the California
.41.    10
0            Class enjoining Defendants, and any and all persons acting in concert with them, from engaging in

             each of the unlawful practices, policies and patterns set forth herein.
        12
0 =z                                         SEVENTH CAUSE OF ACTION
        13
  0             CIVIL PENALTIES PURSUANT TO THE LABOR CODE PRIVATE ATTORNEYS
        14
                             GENERAL ACT OF 2004, LABOR CODE SECTION 2698,et seq.
        15
                                     (By the California Class Against All Defendants)
        16
                     106.     Plaintiffs hereby incorporate by reference paragraphs 1-105 above, as if fully set
        17
             herein by reference.
        18
                     107.     During the period beginning one year period preceding the filing of the initial
        19
             complaint in this action, Defendants violated California Labor Code sections 201, 201.3, 202,203,
        20
             204, 226, 226.7, 510, 1194, 1197, and 1198, as alleged in more detail above.
        21
                     108.     Specifically, Defendants have committed the following violations of the California
        22
             Labor Code:
        23
                              A.     Failure to pay minimum wage or overtime when applicable for all hours
        24
             worked: Defendants employed non-exempt employees, including Plaintiffs, for uncompensated
        25
             time. Specifically, Defendants had a policy and/or practice requiring their non-exempt employees to
        26
             report to their exhibit booth workstations at least fifteen (15) minutes prior to the start of each
        27
             workday, and at least thirty(30) minutes prior to the start of the workday on the first day of each auto
        28

                                                               24
                      FIRST AMENDED COMPLAINT FOR DAMAGES ANTI) DEMAND FOR JURY TRIAL
                                                                                       Exhibit A, Page 77
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           show. Defendants failed to compensate Plaintiffs and similarly aggrieved employees for the pre-shift

           time during which they were subject to Defendants' control but were not paid. This policy and or
       2
           practice, which was ratified by FORD and enforced by EWI, resulted in Plaintiffs and other similarly
       3
           situated non-exempt employees not being paid for all time they were subject to Defendants' control,
       4
           and in working daily overtime hours, for which Defendants did not pay overtime premium wages. In
       5
           addition, Defendants required Plaintiffs and other similarly aggrieved employees to complete online
       6
           training sessions for hours at a time, which also was uncompensated -work time. Thus, Defendants
       7
           engaged, suffered or permitted their employees to work time for which they did not compensate the
       8
In         employees. This unpaid time was part of the employees' fixed or regular working time and is a
14     9
      10 practically ascertainable period of time.
0                         B.      Failure to pay premium wages to non-exempt employees to compensate
      II
           them for workdays Defendant failed to authorize or permit rest periods: Defendants employed
0Z    12
           non-exempt employees, including the named Plaintiffs and all others similarly aggrieved, for shifts
      13
      14 longer than six (6) hours in length. On days in which Plaintiffs and other similarly aggrieved

           employees worked at least seven hours, Defendants aggregated meal and rest period time into a
94    15
M
           single hour-long "break" rather than authorizing or permitting separate I 0-minute rest periods for
      16
           every four hours worked or major fraction thereof Defendants further failed to pay premium wages
      17
           for each day they did not authorize or permit employees to take all legally required rest periods.
      18
                          C.      Failure to pay wages timely: As "temporary services employers," Defendants
      19
           UTA and ARCARO CA were required to pay their non-exempt employees no less frequently than
      20
      21 once per -week. Under Labor Code section 204, Defendants had to pay Plaintiffs and similarly

      22 aggrieved employees either weekly, biweekly, or semimonthly. Instead, Defendants employed a

           policy and/or practice of not paying their employees until no earlier than thirty(30) to ninety(90)
      23
           days after the completion of each auto show worked.
      24
                          D.      Pay Stub Violations: Defendants violated Labor Code section 226 because
      25
           they did not provide Plaintiffs and similarly aggrieved employees with wage statements containing
      26
           all required information by Labor Code section 226,subdivision (a), including gross wages earned,
      27
           total hours worked, net wages earned, and applicable hourly rates with corresponding number of
      28

                                                 25
                    FMST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                  Exhibit A, Page 78
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 72 of 87 Page ID #:79
                                 0                                            0
               hours worked at each hourly rate. Moreover, because Defendants failed to timely pay Plaintiffs and

               similarly aggrieved employees their wages timely, Defendants failed to timely provide wage
          2
               statements, as well.
          3
                               E.      Failure to Pay Former California Non-Exempt Employees AR Wages Due
          4
               at Time of Tern-dnation/Resignation: Because Defendants contracted with Plaintiffs and similarly
          5
               aggrieved non-exempt employees on a seasonal basis, all employees' employment was separated at
          6
               the end of each season and all earned and unpaid wages were due immediately. Defendants failed to
           7
               pay Plaintiffs and other non-exempt employees with all wages (including unpaid overtime and
           8
rA                                                                                .vages for failure to authorize
               minimum wage for all off-the-clock hours, as well as unpaid premium,
           9
     Z
               or permit rest periods) during their employment and never paid these amounts after the employment
          10
0              of Plaintiffs and similarly aggrieved employees was separated. As a result, Defendants failed to pay
          II
     0
               those employees timely after each employee's termination and/or resignation, in violation of Labor
          12
               Code sections 201 and 202.
          13
                               F..     California Labor Code section 2699 authorizes an aggrieved employee, on
          14
               behalf of himself or herself or other current or former employees, to bring a civil action to recover
          15
               civil penalties against their employer pursuant to the procedures specified in Section 2699.3.
          16
                               G.      Plaintiffs have complied with the procedures for bringing suit specified in
          17
               Section 2699.3. By letter dated and postmarked November 23, 2016, Plaintiffs gave written notice
          18
                  certified mail to the Labor and Workforce Development Agency C'LVVDA")and to Defendants of
          19 by
               the specific provisions of the California Labor Code alleged to have been violated, including the
          20
               facts and theories to support the alleged violations, attached hereto as Exhibit 1.
          21
                               H.      Pursuant to California Labor Code section 2699.3, the LWDA must give
          22
               written notice by certified mail to the parties that it intends to investigate the alleged violations of the
          23
               California Labor Code within 65 days of the date of the complainant's written notice. Ifthe LWDA
          24
               does not provide such notice of its intent to investigate within 65 days, a complaining employee may
          25
               initiate a civil action to recover PAGA civil penalties on the State's behalf. The LWDA did not
          26
               provide the parties notice within 65 days of Plaintiffs' letter that it intended to investigate Plaintiffs'
          27
               claims.
          28

                                                       26
                         FIRST AMENDED COMPLAINT FOR DAMAGES TVil)DEMAND FOR JURY TRIAL
                                                                                            Exhibit A, Page 79
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                       109.   Pursuant to California Labor Code sections 2699(a) and (f), and 2699.5, Plaintiff is
           1
               entitled to recover civil penalties for Defendants' violations of California Labor Code 201, 201.3,
           2
               202, 203, 204, 226, 226.7, 510, 1194, 1197, and 1198 during the Civil Penalty Period, as follows:
           3
                              a.      For violations of California Labor Code sections 201, 201.3, or 202, one
           4
               hundred dollars($ 100) for each aggrieved employee per payperiod for the initial violation and two
           5
               hundred dollars ($200) for each aggrieved employee per pay period for each subsequent violation
           6
               [penalty amounts established by California Labor Code section 2699(f)(2)].
           7
                              b.      Forviolations of Califon-da Labor Code section 226,two hundred fiftydollars
           8
rn         9 ($250) for each aggrievcd employee for each pay period for the initial violation, and for each
~ z           ubsequent violation, one thousand dollars(S 1000)for each underpaid employee for each pay period
          10 s
0         11 [penalty amounts established by California Labor Code section 226.3].
W 2
                              C.      For violations of California Labor Code section 226.7, one hundred dollars
          12
     z
M              (S 100) for each aggrieved employee per pay period for the initial violation and two hundred dollars
          13
               (S200) for each aggrieved employee per pay period for each subsequent violation [penalty amounts
          14
               established by California Labor Code section 2699(f)(2)].
          15
                              d.      For violations of California Labor Code section 5 10, fifty dollars ($50) for
          16
               each aggrieved employee for each pay period for the initial violation, and for each subsequent
          17
               violation, one hundred dollars ($100) for each underpaid employee for each pay period [penalty
          18
               amounts established by California Labor Code section 558].
          19
                              e.      For violations of California Labor Code section 1194, one hundred dollars
          20
               (S 100) for each aggrieved employee per pay period for the initial violation and two hundred dollars
          21
               ($200) for each aggrieved employee per pay period for each subsequent violation [penalty amounts
          22
               established by California Labor Code section 2699(0(2)].
          23
                              f.      For violations of California Labor Code section 1197, one hundred dollars
          24
          25 ($100)for each aggrieved employee per pay period for the initial violation and two hundred fifty

               dollars ($250) for each aggrieved employee per pay period for each subsequent violation [penalty
          26
               amounts established by California Labor Code section 1197. 1(a)].
          27
                              9.      For violations of California Labor Code section 1198, one hundred dollars
          28

                                                      27
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                      Exhibit A, Page 80
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          1
              ($100) for each aggrieved employee per pay period for the initial violation and two hundred dollars
          21 ($200) for each aggrieved employee per pay period for each subsequent violation [penalty amounts

                           California Labor Code section 2699(f)(2)].
          3 established by
                    110. Pursuant to California Labor Code section 2699(g)(1), Plaintiffs are entitled to an
         4
              award of reasonable attorney's fees and costs in connection with his claims for civil penalties.
          5
         6
                                                  PRAYER FOR RELIEF
          7
                                      THEIR BEHALF AND ON BEHALF OF THOSE
          8 WHEREFORE, PLAINTIFFS, ON
                               PRAY AS FOLLOWS:
          9 SIMILARLY SITUATED,
         10
0                 ON THE FIRST,SECOND,THIRD, FOURTH, FIFTH, AND SIXTH CAUSES OF
    2    11
         12
                                                          ACTION:
    Z
    2    13             1.   That the Court determine that this action may be maintained as a class action (for the

    C         California Class) pursuant to Code of Civil Procedure section 382 and any other applicable law;
         14
                        2.   That the named Plaintiffs be designated as class representatives for the California
         15
         16 Class (and all sub-classes thereof);
                    3.     That counsel for Plaintiffs be designated as Class Counsel;
         17
                        4.   A declaratory judgment that the practices complained herein are unlawful; and,
         18
         19             5.   An injunction against Defendants enjoining them, and any and all persons acting in

              concert with them, from engaging in each of the unlawful practices, policies and patterns set forth
         20
              herein.
         21

         22
                                          ON THE FIRST CAUSE OF ACTION:

         23             1.   That Defendants be found to have violated the minimum wage provisions of the

              California Labor Code and the 1WC Wage Order as to Plaintiffs and the Minimum Wage Class;
         24
                        2.   For damages, according to proof, including but not necessarily limited to unpaid
         25
         26 wages;
         27             3.   For any and all legally applicable penalties;

                        4.   For liquidated damages pursuant to California Labor Code section 1194.2;
         28
                                                         28
                         FIRST AMENDED   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                        Exhibit A, Page 81
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                                 0                                             0


                       5.      For pre-judgment i nterest, including but not limited to that recoverable under
            1

                California Labor Code section 119.4, and post-judjgment.interest;
            2
                       6.      For attorney's fees and costs of suit, including but not limited to that recoverable
            3
                under California Labor Code section 1194;
            4
                       7.      For pre-judgment interest, including but not limited to that recoverable under
            5
                California Labor Code section 218.6, and post-judgment interest; and,
            6
                       8.      For such and other further relief, in law and/or equity, as the Court deems just or
            7
                appropriate.
            8
                                          ON THE SECOND CAUSE OF ACTION:
            9
C9 z
                       1.      That Defendants be found to have violated the overtime provisions of the California
           10
0               Labor Code and the Wage Order as to Plaintiffs and the Overtime Class;
           II
                       2.      For damages, according to proof, including but not limited to unpaid wages;
           12
      Z
                       3.      For any and all legally applicable penalties;
           13
      C                4.      For pre-judgment interest, including but not limited to that recoverable under
           14
                California Labor Code section 1194, and post-judgment interest;
           is
ELI
                       5.      For attorney's fees and costs of suit, including but not limited to that recoverable
           16
                under California Labor Code section 1194; and,
           17
                       6.      For such and other further relief, in law and/or equity, as the Court deems just or
           is
                appropriate.
           19
                                           ON THE THIRD CAUSE OF ACTION:
           20
                       1.      That Defendants be found to have violated the rest period provisions of the California
           21
           22 Labor Code and the IWC Wage Order as to Plaintiffs and the Rest Period Class;

                       2.      For damages, according to proof, including unpaid premium wages;
           23
                       3.      For pre-judgment interest, including but not limited to that recoverable under
           24
                California Labor Code section 218.6, and post-judgment interest; and
           25
                       4.      For such and other further relief, in law and/or equity, as the Court deems just or
           26
                appropriate.
           27

           28

                                                       29
                        FEItST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                        Exhibit A, Page 82
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                                         ON THE FOURTH CAUSE OF ACTION:

                      I       That Defendants be found to have violated the provisions of the California Labor
          2
               Code regarding timely and accurate iternized paystubs as to Plaintiffs and the Wage Statement Class;
          3
                      2.      For damages and/or penalties, according to proof, including damages and/or statutory
          4
               penalties under California Labor Code section 226(c) and any other legally applicable damages or
          5
               penalties;
          6
                      3.      For pre-judgment interest and post-judgment interest;
          7
                      4.      For injunctive relief under California Labor Code section 226(h);
          8
                      5.      For attorney's fees and costs of suit, including but not limited to that recoverable
          9
     z           nder California Labor Code sections 226(c) and 226(h); and,
          10 u
0                     6.      For such and other further relief, in law and/or equity, as the Court deems ust or
14 2      11
9 1~           appropriate.
          12
0
                                           ON THE FIFTH CAUSE OF ACTION:
          13
                      1.      That Defendants UTA,FORD, EWI, and Does I to 100,inclusive, be found to have
     z    14
               violated the provisions of the Labor Code regarding payment of wages due upon separation of
14        15
M
               employment as to Plaintiffs and the Waiting Time Class;
          16
                      2.      For damages and/or penalties, according to proof, including damages and/or statutory
          17
          18   penalties under Labor Code section 203 and any other legally applicable damages or penalties;

                      3.      For pre-judgment interest, including under California Labor Code section 218.6, and
          19
               post-judgment interest; and,
          20
                      4.      For such and other fin-ther relief, in law and/or equity, as the Court deems just or
          21
               appropriate.
          22
                                           ON THE SIXTH CAUSE OF ACTION:
          23
                       1.     That the Defendants be found to have violated Business and Professions Code section
          24
               17200 for the conduct alleged herein as to all Classes;
          25
                      2.      A declaratory judgment that the practices complained herein are unlawful;
          26
                      3.      An injunction against Defendants enjoining them, and any and all persons acting in
          27
               concert with them, from engaging in each of the unlawful practices, policies and patterns set forth
          28

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                          FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                      Exhibit A, Page 83
         Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 77 of 87 Page ID #:84
                                                                           G
           I herein;
                       4.     For restitution to the full extent permitted by law; and,
          2
                       5.     For such and other further relief, in law and/or equity, as the Court deems just or
          3
               appropriate.
          4

          5                              ON THE SEVENTH CAUSE OF ACTION:

          6            1.     That Defendants be found to have violated the provisions of the California Labor

               Code and Wage Order as to Plaintiffs and current or former aggrieved employees;
          7
                       2.     For any and all legally applicable penalties, including but not limited to that
          8
W              recoverable under California Labor Code section 2699(f), 226.3, 558, and 1197. 1.
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Cd
.4 z                   3.     For attorney's fees and costs of suit, including but not limited to that recoverable
          10
0              under California Labor Code section 2699(g); and,
W 2       11

g 11o—                 4.     For such and other further relief, in law and/or equity, as the Court deems just or
          12
  z
          13 appropriate.
          14
               Dated: January 30, 2017                               FELDMAN BROWNE OLIVARES,
          15                                                         A Professional Corporation
          16
          17                                                 By:
                                                                     L01YR. FELDMAN
          18                                                         LEONARD H. SANSANOWICZ
                                                                     Attorneys for Plaintiffs, HENRY CHEN,
          19                                                         REBECCA FAULKNER,and all others
                                                                     similarly situated
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                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                          Exhibit A, Page 84
        Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 78 of 87 Page ID #:85
                                G                                           G
                                                DEMAND FORSURY TRIAL
                      Plaintiffs Henry Chen and Rebecca Faulkner hereby demand a trial by jury for themselves
          2
              and the California Class on all claims so triable.
          3
          4
              DatedJanuary 30, 2017                                     FELDMAN BROWNE OLIVARES,
          5                                                             A Professional Corporation
          6
          7                                                  By:
                                                                        ftl]5`11. FELDMA?~-
          8                                                             LEONARD H. SANSANOWICZ
                                                                        Attorneys for Plaintiffs, HENRY CHEN,
          9                                                             REBECCA FAULKNER,and all others
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                        FIRST AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
                                                                                       Exhibit A, Page 85
Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 79 of 87 Page ID #:86




                      Exhibit 1
                                                           Exhibit A, Page 86
                                                                                                                           k.-
          Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 80 of 87 Page ID #:87
Ff           FELDMA-'~'                                                            G
,(3)         BROYINE OLIVARES
             111=59094311K~


                                                  November 23, 2016

      VIA ONLINE FILING SYSTEM'

      Labor and Workforce Development Agency

              Re: Chen. et al. i~ United Talem Akrency LLC. et aL

      Dear Madam/Sir:

            I am filing this written notice with the Labor and Workforce Development Agency
     ("LWDA") pursuant to the provisions of the Califort-da Labor Code Sections 2699, 2699.3, and
     2698, et seq. The purpose of this letter is to inquire whether the LWDA intends to investigate
      and seek civil penalties associated with our clients' allegations of violations of the Labor Code
      by their employers. In addition to filing this letter through the online filing system, I now mail
      you this letter with the $75 filing fee enclosed.

            Our firm has been retained by Henry Chen and Rebecca Faulkner (hereinafter
     "
     'Plaintiffs") concerning a wage and hour class action against their former employers, United
     Talent Agency, LLC ("UTA"), Ford Motor Company C*FORD"), EWI Worldwide ("EWI"),
     Cynthia Arcaro Enterprises California, LLC("ARCARO CA)(collecti,   *,ely,"Defendants").

             UTA and ARCARO CA operate as a talent agency that provides "production specialists"
     to help promote Ford vehicles at auto shows throughout California and around the country. The
     auto shows last in duration from several days to two to three weeks. As such, Defendants UTA
     and ARCARO CA are "temporary serviccs employers" under the meaning of Labor Code section
     201.3. The production specialist is a non-exempt position, and UTA/ARCARO CA contract with
      production specialists for the term of an entire season of work, set their wages, and pay them
     their wages. EWI provides supervisors to oversee the production specialists. FORD and
      UTA/ARCARO CA both have authority to rehire production specialists for the following season
     (or to refuse to rehire the employees). In this way, each of the named Defendants controlled the
      wages, hours, and/or working conditions of Plaintiffs and other non-exempt production
     specialists. Mr. Chen worked for Defendants as a non-exempt employee from approximately
      September 2013 to on or about January 3, 2016. Defendants have employed Ms. Faulkner since
      September 2008.




      1 Filed through the Labor and Workforce Development Agency online filing system at:
      httR://%vww.dir.ca.pov/Private-Attomeys-General-ActIPrivate-Attomevs-General-Act.htmI .



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                                                                                                Exhibit A, Page 87
  Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 81 of 87 Page ID #:88



        The following list sets forth the contact information for Plaintiffs' employers:

        Company Name                                        Contact Information
        United Talent Agency, LLC                           United Talent Agency, LLC
                                                            c/o Peter Benedek, registered agent for
                                                            service of process
                                                            9336 Civic Center Drive
                                                            Beverly Hill , CA 902 10
        Ford Motor Company                                  Ford Motor Company
                                                            c/o CT Corporation System, registered
                                                            agent for service of process
                                                            818 W.7th Street
                                                            Los Angeles, CA 90017
        EW1 Worldwide (a business entity of                 EWI Worldwide
        unknown form with offices in Foothill               General Manager
        Ranch, CA)                                          19531 Pauling
                                                            Foothill Ranch, CA 92610
    4. Cynthia Arcaro Enterprises Cal ifornia,              Cynthia Arcaro Enterprises California,
         LLC                                                 LLC
                                                            c/o Legalinc Corporate Services, Inc.,
                                                            registered agent for service of process
                                                            5668 E.61st Street
                                                            Commerce, CA 90040

         The following is a summary of Plaintiffs' %vage and hour allegations:

        Failure to pay minimum wage or overtime when applicable for all hours worked to
non-exempt employees: Defendants had a policy and/or practice requiring their non-exempt
employees to report to their exhibit booth workstations at least fifteen (15) minutes prior to the
start of each workday, and at least thirty (30) minutes prior to the start of the workday on the first
day of each auto sho-%v. Defendants failed to compensate Plaintiffs and similarly aggrieved
employees for the pre-shift time during which they were subject to Defendants' control but were
not paid. This policy and Or practice, which .vas ratified by FORD and enforced by EWI,
resulted in Plaintiffs and other similarly situated non-exempt employees not being paid for all
time they were subject to Defendants' control, and in working daily overtime hours, for which
Defendants did not pay overtime premium wages. In addition, Defendants required Plaintiffs and
other similarly aggrieved employees to complete online training sessions for hours at a time,
which also was uncompensated work time.

        Failure to pay premium wages to non-exempt employees to compensate them for
workdays Defendant failed to authorize or permit rest periods: On days in which Plaintiffs
and other similarly aggrieved employees worked at least seven hours, Defendants aggregated
meal and rest period time into a single hour-long "breale' rather than authorizing or permitting
separate 10-minute rest periods for every four hours worked or major fraction thereof
Defendants further failed to pay premium wages for each day they did not authorize or permit
employees to take all legally required rest periods.


                                                     FB)
12400 WILSHIRE BOULEVARD I SUITE 1100 1 LOS ANGELES. CA 90025 1 P. 310.207.8500 1 F.310.207.8515 I WWW.FBO-LAW.COM

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        Failure to pay wages timely: As "temporary services employers," Defendants UTA and
ARCARO CA %vere required to pay their non-exempt ertiployees no less frequently than once per
week. Under Labor Code section 204.. Defendants had to pay Plaintiffs and similarly aggrieved
employees either weekly, biweekly, or semimonthly. Instead, Defendants employed a policy
and/or practice of not paying their employees until no earlier than thirty (30) to ninety (90) days
after the completion of each auto show worked.

        Pay Stub Violations: Defendants violated Labor Code section 226 because they did not
provide Plaintiffs and similarly aggrieved employees with wage statements containing all
required information by Labor Code section 226, subdivision (a), including gross wages earned,
total hours worked, net %vages earned, and applicable hourly rates with corresponding number of
hours worked at each hourly rate. Moreover, because Defendants failed to timely pay Plaintiffs
and similarly aggrieved employees their %vages timely, Defendants failed to timely provide wage
statements, as %vell.

       Failure to Pay Former California Non-Exempt Employees All Wages Due at Time of
Termination/Resignation: Because Defendants contracted with Plaintiffs and similarly
aggrieved non-exempt employees on a seasonal basis, all employees' employment was separated
at the end of each season and all earned and unpaid wages were due immediately. Defendants
failed to pay Plaintiffs and other non-exempt employees with all %vages (including unpaid
overtime and minimum wage for all off-the-clock hours, as well as unpaid premium wages for
failure to authorize or permit rest periods) during their employment and never paid these
amounts after the employment of Plaintiffs and similarly. aggrieved employees was separated. As
a result, Defendants failed to pay those employees timely after each employee's termination
and/or resignation, in violation of Labor Code sections 201 and 202.

       Plaintiffs have filed a civil class action concerning their wage claims as warranted by
Defendants' violation of Labor Code sections 201, 201.3. 202, 203, 204, 226, 226.7, 510, 1194,
1197, 1198, and the Wage Orders. We are sending you this letter to inquire whether the LWDA
wishes to investigate Plaintiffs' allegations for any civil penalties associated with Defendants'
violations of the Labor Code.

       Thank you for your assistance and cooperation in his matter. Please call me if you have
any questions.

                                               Very truly yours;




cc:      United Talent Agency, LLC(via U.S. certified mail 7014 0150 0000 5272 4301
         Ford Motor Company (via U.S. certified mail 7014 0150 0000 5272 4318)
         EWI Worldwide (via U.S. certified mail 7014 0150 0000 5272 4202)
         Cynthia Arcaro Enterprises California, LLC(via U.S. certified mail 7014 0150 0000
         52724172

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           Case 2:17-cv-01848-PA-E Document 1-1 Filed 03/08/17 Page 86 of 87 Page ID #:93




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                                             CERTIFICATE OF SERVICE

             COUNTY OF LOS ANGELES
                                                          ss.
             STATE OF CALIFORNIA

        4            I am employed in the County of Los Angeles in the State of California. I am over the age
             of 18 and not a party to the within action; my business address is 12400 Wilshire Blvd., Ste.
             1100, Los Angeles, CA 90025.

        N On the date set forth below, I served the following document(s):

             PLAINTIFF'S FIRST AMENDED COMPLAINT

             in this action by placing a true copy thereof in a sealed envelope addressed as follows:

           UNITED TALENT AGENCY, LLC
  z        c/o Cynthia Arcaro
        10 500 S. Palm Ave. #72
00         Sarasota, FL 34236
        11
 0
 U         EWI WORLDWIDE
        12 clo General Manager
  7        19531 Pauling
02
        13 Foothill  Ranch, CA 92610
I %,
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        14 Ford Motor Company
           clo CT Corp System, Registered Agent for Service
        15 818 W.7h St., Los Angeles, CA 90017

        16   CYNTHIA ARCARO ENTERPRISES CALIFORNIA,LLC
             Legaline Corporate Services, Inc.
        17   5668 E. 615' St.
             Commerce,CA 90040
        Is
                   [X] By Mail: I placed a true copy. in a sealed envelope addressed as indicated above,
        19 on the above-mentioned date. I am familiar with thi firm's practice of collection and processing
           correspondence for mailing. It is deposited with the US Postal Service on that same day in the
        20 ordinary course of business. I am aware that on motion of party served, service is presumed
           invalid if postal cancellation date or postage meter date is more than one day after date of deposit
        21 for mailing in affidavit.

        22
                   [XI State: I declare under penalty of pedury under the laws of the State of California
        23 that the foregoing is true and correct.

        24           Executed on January 30, 2017, at Los Angeles, California.

        25

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        V


                                                 CERTIFICATE OF SERVICE
                                                                                    Exhibit A, Page 94
